      Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 1 of 62




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13
                               UNITED STATES DISTRICT COURT
14
                             NORTHERN DISTRICT OF CALIFORNIA
15
   DAVID F. BERLINGER, Individually and On ) Case No. 3:21-cv-08254-MMC
16 Behalf of All Others Similarly Situated,  )
                                             ) CLASS ACTION
17                               Plaintiff,  )
                                             ) AMENDED COMPLAINT FOR
18        vs.                                ) VIOLATIONS OF THE FEDERAL
                                             ) SECURITIES LAWS
19 BIOMARIN PHARMACEUTICAL INC.,             )
   JEAN-JACQUES BIENAIMÉ, HENRY J.           )
20 FUCHS, AND LON CARDON,                    )
                                             )
21                               Defendants. ) DEMAND FOR JURY TRIAL
                                             )
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     4859-7139-2022.v2
         Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 2 of 62




 1            1.         Lead Plaintiffs Local 282 Pension Trust Fund and Local 282 Annuity Trust Fund

 2 (“Plaintiffs” or “Local 282”), individually and on behalf of all others similarly situated, allege the

 3 following based upon personal knowledge as to themselves and their own acts and upon

 4 information and belief as to all other matters. Plaintiffs’ information and belief is based upon,

 5 inter alia, their counsel and independent investigation. This investigation included, but was not

 6 limited to, a review and analysis of: (i) BioMarin Pharmaceutical Inc.’s (“BioMarin” or the

 7 “Company”) public filings with the U.S. Securities and Exchange Commission (“SEC”);

 8 (ii) transcripts of BioMarin’s public conference calls; (iii) BioMarin’s press releases; (iv) media

 9 and research reports regarding BioMarin; (v) BioMarin’s stock price movement, and pricing and

10 volume data; and (vi) other publicly available material and data identified herein. Counsel’s

11 investigation into the factual allegations contained in this Complaint is ongoing, and many of the

12 relevant facts are known only by Defendants or are exclusively within Defendants’ custody or

13 control.        Plaintiffs believe that substantial additional evidentiary support will exist for the

14 allegations set forth in this Complaint after a reasonable opportunity for further investigation or

15 discovery.

16                          INTRODUCTION AND SUMMARY OF THE ACTION
17            2.         This is a securities class action brought on behalf of all persons and entities who

18 purchased or otherwise acquired BioMarin’s publicly traded common stock between November
19 14, 2019 and February 23, 2022 (the “Class Period”), against BioMarin and certain of the

20 Company’s current and former executive officers 1 (together, “Defendants”). Plaintiffs seek

21 remedies under the Securities Exchange Act of 1934 (the “Exchange Act”) arising from

22 Defendants’ false and misleading statements and material omissions.

23            3.         BioMarin is a biotechnology company that develops and commercializes in

24 therapies to address rare diseases and medical conditions. In developing its therapies, BioMarin

25 selects product candidates for diseases and conditions that represent an unmet medical need, have

26 well-understood biology and provide an opportunity to be first-to-market or offer a significant

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     1
           See ¶¶22-26.
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     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                          -1-
     4859-7139-2022.v2
         Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 3 of 62




 1 benefit over existing products. During the Class Period, the Company was developing, among

 2 other product candidates, an AAV5-phenylalanine hydroxylase (PAH) gene therapy designed to

 3 normalize blood phenylalanine (Phe) concentration levels in patients with phenylketonuria

 4 (“PKU”) – a rare inherited disorder that causes the Phe amino acid to build up in the body – by

 5 inserting a correct copy of the PAH gene into liver cells. Since 2008 BioMarin’s primary PKU

 6 treatment was Kuvan, taken as a tablet or dissolvable powder, which has been administered to

 7 more than 7,800 patients in the U.S. and had been BioMarin’s second biggest product, consistently

 8 making up about 30% of BioMarin’s drug revenue. In 2018, BioMarin added a second drug to its

 9 PKU franchise, when it received approval for Palynziq, an injectable enzyme therapy. By the start

10 of the Class Period Kuvan and Palynziq were the only approved drugs for the treatment of PKU.

11 BioMarin’s third PKU drug, a developmental PKU gene therapy that would come to be known as

12 BMN 307, was to be a part of the Company’s “PKU franchise” and represented the next generation

13 of therapy in the Company’s “pills to proteins to gene therapy” strategy.

14            4.         The development of BMN 307 was crucial to BioMarin, as in the fall of 2018,

15 BioMarin’s PKU franchise represented more than 30% of its revenue. Competition was increasing

16 and exclusivity for BioMarin’s Kuvan treatment was expiring in 2020, opening the door to generic

17 competition that would erode the profitability and market share of BioMarin’s PKU franchise.

18 Indeed, once competitors began marketing generic versions of Kuvan in 2020, BioMarin’s Kuvan-
19 generated revenue was almost halved, falling from $457 million in 2020 to $286 million in 2021.

20 BioMarin attributed the steep revenue decline to the loss for exclusivity of Kuvan. 2

21            5.         BioMarin portrayed its new gene therapy drugs such as BMN 307 as game changing

22 single transformative treatments that could provide effectiveness well beyond existing therapies

23 that required daily administration. And with BNM 307, BioMarin could re-establish its PKU

24 franchise.

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27   2
      Press Release, BioMarin Announces Fourth Quarter and Full Year 2021 Financial Results and
   Corporate Updates, February 23, 2022.
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     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                     -2-
     4859-7139-2022.v2
         Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 4 of 62




 1            6.         On November 7, 2018, BioMarin held its 2018 Research and Development Day

 2 (“R&D Day”) for investors and analysts. Defendants Bienaimé, Fuchs, and Cardon, as well as

 3 other BioMarin executives, attended and made presentations to investors during the R&D Day,

 4 where the “main event” of the conference was BioMarin’s new gene therapy, introduced as “BMN

 5 307.” Defendant Cardon presented pre-clinical data for BMN 307 and described some of the

 6 mouse models used to develop BMN 307. Among the “number of [pre-clinical] studies, there’s

 7 hundreds of mice involved in various studies” 3 supporting BMN 307, BioMarin “took on” and

 8 completed “a lifetime study of mice, so the full longevity of mice, 80 weeks it is in this particular

 9 model, and asked what the effect of this particular treatment is on those.” Defendants also

10 explained that beyond the pre-clinical mouse studies, BioMarin had progressed to nonhuman

11 primate studies and that those “nonhuman primates studies are already reading out.”

12            7.         Defendants confirmed that they would ‘“complete preclinical studies in the first

13 half of 2019,’” and that thereafter they would file an investigational new drug (“IND”) application

14 for BMN 307 with the United States Food and Drug Administration (“FDA”) in the second half

15 of 2019.

16            8.         At the Company’s 2019 R&D Day for investors and analysts, held the next year on

17 November 14, 2019, Defendants again highlighted the pre-clinical data they had observed in

18 studies lasting as long as 80 weeks, confirming that they had already filed their regulatory clinical
19 trial application with the U.K. and that BMN 307’s IND submission was “imminent.”

20 Commenting on their pre-clinical observations, Defendants addressed “durability considerations

21 for PKU,” proclaiming: “The mouse data looked great as far out as the eye could see in terms of

22 durability.”

23            9.         On January 13, 2020, Defendants confirmed that BMN 307’s IND had been

24 approved, and Defendants confirmed that BMN 307 had moved beyond the “Preclinical” stage

25 and had transitioned to “Clinical Phase 1/2,” i.e. human trials.

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           Emphasis added unless otherwise noted.
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     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                       -3-
     4859-7139-2022.v2
      Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 5 of 62




 1            10.        Over the next two-and-half years, as BioMarin proceeded with clinical trials and

 2 began dosing human patients, Defendants repeatedly and without reservation touted the safety and

 3 effectiveness of BMN 307, citing prior pre-clinical studies and data observations out to 80 weeks.

 4 For example, in early 2020, Bienaimé proclaimed: “us[ing] a very well-established PKU mouse

 5 model . . . [w]e show there is no safety issue.” And when addressing questions about BMN 307’s

 6 durability, Fuchs assured investors that “[t]he ENU2 mice data are very encouraging and very

 7 consistent with what you see in the field in general.” Defendants also repeatedly highlighted the

 8 significant impact the drug would have on BioMarin’s PKU portfolio and overall business and

 9 touted its prospects for FDA approval.

10            11.        Unbeknownst to the investing public, however, but known to and concealed by

11 Defendants, the proclaimed success of BMN 307’s pre-clinical trials and the viability of

12 BioMarin’s new gene therapy was not as Defendants portrayed. In fact, while BioMarin’s pre-

13 clinical studies continued out as long as 80 weeks and Defendants maintained that “[t]he mouse

14 data looked great as far out as the eye could see in terms of durability,” they later admitted that

15 they had observed liver tumors in mice “at 52 weeks in a pre-clinical study to test BMN 307’s

16 durability.” This adverse information was withheld from investors.

17            12.        Investors began to learn the truth when, on Sunday, September 5, 2021, BioMarin

18 revealed that the FDA had placed a clinical hold on the BMN 307 Phearless Phase 1/2 clinical
19 study based on safety findings from a pre-clinical mouse study where 85% of “animals

20 administered BMN 307 at the highest dose group (2e14 Vg/kg) [revealed] tumors [after a] liver

21 necropsy 52 weeks after dosing with evidence for integration of portions of AAV vector into the

22 genome.”

23            13.        The market was shocked by this revelation, and BioMarin’s stock price fell $7.14

24 per share, or 8.4%, to close at $77.81 per share on September 7, 2021, the next trading day

25 following the Labor Day holiday. And within the few weeks following disclosure of the preclinical

26 liver tumors and FDA hold, Cardon – responsible for driving BioMarin’s scientific strategy and

27 enriching its product pipeline – quietly disappeared from the Company.

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     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                       -4-
     4859-7139-2022.v2
      Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 6 of 62




 1            14.        Unwilling to accept responsibility for concealing the truth, Defendants downplayed

 2 the seriousness of the liver tumors and the FDA’s clinical hold. Defendants claimed that the

 3 tumors were not cause for concern because “[a]ll of these effects have been observed in other mice

 4 studies previously” and downplayed the serious safety issues asserting that the dose of BMN 307

 5 that resulted in the liver tumors was “much higher than the dose that we treat our patients so far.”

 6 As if an 85% tumor rate could ever be glossed over, Defendants’ excuse is not credible. They

 7 were in the midst of a dose escalation clinical study and had acknowledged before the truth was

 8 revealed that they had no idea what the correct human dose would be because “you can only find

 9 that out when you go into human[ clinical trials]” and “we may have to go to a higher dose as

10 well.” Defendants also expressed confidence as late as January 6, 2022, that they would be

11 permitted to resume the clinical studies in early 2022.

12            15.        But the FDA did not share BioMarin’s misplaced optimism regarding tumors and

13 clinical hold, however, and just a few weeks later, on February 17, 2022, Defendants disclosed

14 that the clinical hold would not be lifted in the first quarter of 2022, as the FDA had requested

15 “data from additional non-clinical studies,” which was “expected to take several quarters.”

16            16.        As investors came to the realization that the clinical hold was far more severe and

17 would last much longer than Defendants had previously claimed, the market reacted swiftly,

18 sending the price of BioMarin falling $13 per share, or more than 14% from February 17, 2022
19 through February 24, 2022.

20                                        JURISDICTION AND VENUE
21            17.        The claims asserted herein arise under and pursuant to §§10(b) and 20(a) of the

22 Exchange Act (15 U.S.C. §§78j(b) and 78t(a)), and Rule 10b-5 promulgated thereunder by the

23 SEC (17 C.F.R. §240.10b-5).

24            18.        This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

25 §1331 and §27 of the Exchange Act and §27 of the Exchange Act (15 U.S.C. §78aa).

26            19.        Venue is proper in this District pursuant to §27 of the Exchange Act (15 U.S.C.

27 §78aa) and 28 U.S.C. §1391(b) because BioMarin maintains its corporate headquarters in San

28 Rafael, California, which is situated in this District, and Defendants conduct substantial business

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                          -5-
     4859-7139-2022.v2
      Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 7 of 62




 1 in this District. In addition, many of the acts and conduct that constitute the violations of law

 2 complained of herein, including dissemination to the public of materially false and misleading

 3 information, occurred in and/or were issued from this District.

 4            20.        In connection with the acts, conduct, and other wrongs alleged in this Complaint,

 5 Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

 6 including, but not limited to, the U.S. mail, interstate telephone communications, and the facilities

 7 of national securities exchanges.

 8                                                  PARTIES
 9            21.        Plaintiffs Local 282 Pension Trust Fund and Local 282 Annuity Trust Fund District

10 No. 9 provide retirement and welfare benefits to current and retired members of their affiliated

11 local unions. The Local 282 Trust Funds are jointly administered by a board of trustees of both

12 labor and management representatives. On January 10, 2022, the Court appointed Local 282 as

13 Lead Plaintiff to represent the proposed class of BioMarin shareholders. As reflected in Local

14 282’s certification attached hereto, Plaintiffs purchased and held shares of BioMarin stock during

15 the Class Period. As a result of the Defendants’ conduct detailed herein, Local 282 suffered

16 damages in connection with its purchases of BioMarin securities.

17            22.        Defendant BioMarin is a biotechnology company located in California and

18 headquartered at 770 Lindaro Street, San Rafael, CA 94901. At all relevant times, the Company’s
19 common stock traded on the Nasdaq Stock Market (“NASDAQ”), an efficient market, under the

20 ticker symbol “BMRN.” As of February 22, 2022, BioMarin had over 184 million shares of

21 common stock outstanding.

22            23.        Defendant Jean-Jacques Bienaimé (“Bienaimé”) currently serves as BioMarin’s

23 Chairman and Chief Executive Officer (“CEO”). Defendant Bienaimé joined the Company as

24 CEO and member of the Board of Directors in May 2005.

25                       (a)    During the Class Period, defendant Bienaimé was responsible for the

26 issuance of false and misleading statements and omissions about BioMarin and failed to disclose

27 the true facts about BMN 307. See ¶¶66, 73, 77, 82, 89, 96, 103. In addition to issuing false and

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     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                        -6-
     4859-7139-2022.v2
         Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 8 of 62




 1 misleading statements throughout the Class Period, Bienaimé repeatedly had the opportunity to

 2 correct the misstatements and omissions by and on behalf of BioMarin, and failed to do so.

 3                       (b)    As CEO and Chairman of the board of directors, Bienaimé was responsible

 4 for directing BioMarin’s business development, public statements, and financial and business

 5 affairs. Specifically, during conference calls with analysts and investors, Bienaimé repeatedly held

 6 himself out as knowledgeable about BioMarin’s gene therapy development and BMN 307, and the

 7 Company’s business prospects. At no time during the Class Period did Bienaimé assert that he

 8 was not aware of material aspects of BioMarin’s core drug development operations, including the

 9 gene therapy development and preclinical trials and results for BMN 307.

10                       (c)    In 2019 and 2020, Bienaimé received over $36.5 million in total

11 compensation. 4 And, during the Class Period as set forth in ¶131, Bienaimé sold 298,000 shares

12 of his BioMarin stock at prices inflated by Defendants’ false and misleading statements and

13 omissions for proceeds of over $25.2 million.

14            24.        Defendant Henry J. Fuchs (“Fuchs”) served as BioMarin’s President of Worldwide

15 Research & Development during the Class Period. Defendant Fuchs joined the Company in March

16 2009 as Executive Vice President and Chief Medical Officer.

17                       (a)    During the Class Period, defendant Fuchs was responsible for the issuance

18 of false and misleading statements and omissions about BioMarin and failed to disclose the true
19 facts about BMN 307. See ¶¶66, 73, 77, 82, 89, 96, 103. In addition to issuing false and misleading

20 statements throughout the Class Period, Fuchs repeatedly had the opportunity to correct the

21 misstatements and omissions by and on behalf of BioMarin, and failed to do so.

22                       (b)    As President of Worldwide Research & Development, Fuchs was

23 responsible for overseeing and directing BioMarin’s gene therapy development and the preclinical

24 trials for BMN 307, including BioMarin’s public statements concerning such activities.

25 Specifically, during conference calls with analysts and investors, Fuchs repeatedly held himself

26 out as knowledgeable about BioMarin’s gene therapy development and BMN 307, and the

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     4
           Compensation information for 2021 have not yet been publicly disclosed.
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     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                       -7-
     4859-7139-2022.v2
      Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 9 of 62




 1 Company’s business prospects. At no time during the Class Period did Fuchs assert that he was

 2 not aware of material aspects of BioMarin’s core drug development operations, including the gene

 3 therapy development and preclinical trials and results for BMN 307.

 4                       (c)    In 2019 and 2020, Fuchs received over $14 million in total compensation.

 5 And, during the Class Period as set forth in ¶130, Fuchs sold 186,600 shares of his BioMarin stock

 6 at prices inflated by Defendants’ false and misleading statements and omissions for proceeds of

 7 over $22.8 million.

 8            25.        Defendant Lon Cardon (“Cardon”) was promoted to this role on October 7, 2019,

 9 just weeks before the beginning of the Class Period, when he discussed completion of BMN 307’s

10 safety, efficacy, and toxicology studies, and represented that “[t]he mouse data looked great as far

11 out as the eye could see in terms of durability” at the 2019 R&D Day conference. Cardon abruptly

12 left BioMarin at the end of the Class Period, just weeks after Defendants revealed that they had

13 observed liver tumors in a BMN 307 pre-clinical study.

14                       (a)   During the Class Period, defendant Cardon was responsible for the issuance

15 of false and misleading statements and omissions about BioMarin and failed to disclose the true

16 facts about BMN 307. ¶¶66, 73, 77, 82, 89, 96, 103. In addition to issuing false and misleading

17 statements throughout the Class Period, defendant Cardon repeatedly had the opportunity to

18 correct the misstatements and omissions by and on behalf of BioMarin, and failed to do so.
19                       (b)   As its top scientist, Cardon was responsible for research functions at

20 BioMarin and oversight of the Company’s product portfolio. Cardon worked to translate the

21 results of genetic research regarding the causes of human diseases into medical treatments

22 developed by the Company. In his capacity as a chief “strategy” officer, Cardon was responsible

23 for “enrich[ing] BioMarin’s pipeline,” “drive[] the future growth of the company,” and “lead

24 BioMarin’s scientific strategy.” During conference calls with analysts and investors, Cardon held

25 himself out as knowledgeable about BioMarin’s gene therapy development and BMN 307, and the

26 Company’s business prospects. At no time during the Class Period did Cardon assert that he was

27 not aware of material aspects of BioMarin’s drug development operations, including the gene

28 therapy development and preclinical trials and data for BMN 307.

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                       -8-
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 10 of 62




 1                       (c)    Within weeks of disclosing that Defendants had observed liver tumors in

 2 BioMarin’s pre-clinical studies, and no later than October 4, 2021, defendant Cardon was no longer

 3 employed by BioMarin.

 4            26.        Defendants Bienaimé, Fuchs, and Cardon, because of their positions with the

 5 Company, possessed the power and authority to control the contents of BioMarin’s public

 6 statements, including the Company’s quarterly and annual reports, press releases, and

 7 presentations to securities analysts, money and portfolio managers, and individual and institutional

 8 investors. They were provided with copies of the Company’s results, reports and press releases

 9 alleged herein to be false and misleading prior to or shortly after their issuance and had the ability

10 and opportunity to prevent their issuance or cause them to be corrected. Because of their positions

11 with the Company, and their access to material non-public information available to them but not

12 to the public, these Defendants knew that the adverse facts specified herein had not been disclosed

13 to and were being concealed from the public and that the positive representations being made were

14 then materially false and misleading.

15                                        FACTUAL BACKGROUND
16            27.        BioMarin is a specialty biotechnology and pharmaceutical company headquartered

17 in San Rafael, California. Historically, BioMarin has researched, developed, and commercialized

18 pharmaceuticals to treat rare diseases and medical conditions. Specifically, BioMarin focuses on
19 the development and commercialization of drugs with “orphan drug” status—drugs that treat

20 medical conditions that are so rare they would not be profitable to produce without government

21 assistance. In the United States, an orphan drug is one that treats a rare condition or disease that

22 affects fewer than 200,000 people. BioMarin describes itself as focused on “select[ing] product

23 candidates for diseases and conditions that represent a significant unmet medical need, have well-

24 understood biology and provide an opportunity to be first-to-market or offer a significant benefit

25 over existing products.”

26            28.        As described by BioMarin, the Company’s focus on rare diseases and conditions

27 requires the Company to secure “significant market share and maintain high per-patient prices for

28 [its] products to achieve profitability.” To achieve these goals, BioMarin focuses on first-to-market

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                       -9-
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 11 of 62




 1 orphan drugs, which can come with significant and highly lucrative exclusivity rights. Even more,

 2 orphan drugs are exempt from the Medicaid mandatory discount pricing established by the

 3 Affordable Care Act. The average annual cost of orphan drug treatments far exceeds “mainstream”

 4 treatments; “orphan drugs have an average annual cost of $32,000, and more than a third of drugs

 5 with orphan indications cost more than $100,000 annually.” 5

 6            29.        At the beginning of the Class Period, BioMarin’s drug portfolio consisted of six

 7 FDA-approved orphan drugs.              One of its drugs, Kuvan, accounted for nearly 30% of the

 8 Company’s total net revenue in 2019. However, BioMarin’s patent for Kuvan was soon due to

 9 expire, and generic versions of Kuvan would begin eroding BioMarin’s profits in the Kuvan

10 revenue and PKU franchise. Accordingly, by the beginning of the Class Period, BioMarin faced

11 a threat to nearly one-third of its revenue due to generic competition, and BioMarin was relying

12 heavily on its pipeline of developmental drugs to defend against these threats to the Company’s

13 revenue.

14 Overview of the FDA Approval Process and FDA’s Focus on Gene Therapy

15            30.        A pharmaceutical company seeking FDA approval to sell a new prescription drug

16 must complete a five-step process: (a) discovery of a potential new drug; (b) preclinical laboratory

17 tests, preclinical studies in animals, formulation studies, and the submission to the FDA of an

18 investigational new drug application, or IND; (c) adequate and well-controlled clinical trials to
19 establish the safety and efficacy of the drug for each indication sought; (d) the submission of a

20 new drug application, or NDA, to the FDA; and (e) FDA review and approval of the NDA or BLA.

21            31.        Preclinical tests include laboratory evaluation of product chemistry, formulation,

22 and toxicity, as well as animal studies. During preclinical research, the company must conduct

23 laboratory tests and try the drug on animals and then people to make sure it works and is safe. As

24 BioMarin explained before the Class Period, “we may need to perform multiple preclinical studies

25

26   5
       Orphan Drugs in the United States, Rare Disease and Cost Trends Through 2019, IQVIA
   Institute  for Human Data Science, at Overview, page 4 (December 2020).
27 (https://www.iqvia.com/insights/the-iqvia-institute/reports/orphan-drugs-in-the-united-states-

28 rare-disease-innovation-and-cost-trends-through-2019).

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                        - 10 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 12 of 62




 1 using various doses and formulations before we can begin clinical trials.” 6 The FDA regulates the

 2 laboratory work and facilities through good laboratory practice (“GLP”) regulations. Researchers

 3 typically use GLP, defined in medical product development regulations (see 21 CFR, Part 58.1),

 4 for preclinical laboratory studies. In some cases, researchers use non-GLP studies that do not

 5 require the rigor of GLP studies. The GLP regulations are found in 21 CFR Part 58.1: Good

 6 Laboratory Practice for Nonclinical Laboratory Studies. GLP studies must provide detailed

 7 information on dosing and toxicity levels, and the results of preclinical testing are submitted to the

 8 FDA as part of an IND. The FDA may impose a clinical hold, for example, if it finds that human

 9 subjects will be exposed to an unreasonable and significant risk of injury, or if the IND does not

10 contain sufficient information to assess the risks to subjects of the proposed study.

11            32.        After preclinical testing, researchers review their findings and decide whether the

12 drug should be tested in people. Clinical trials to support new drug applications are typically

13 conducted in three sequential phases, although the phases may overlap. As BioMarin explained

14 it, “After we have conducted preclinical studies, we must demonstrate that our product candidates

15 are safe and efficacious for use in the targeted human patients in order to receive regulatory

16 approval for commercial sale.” 7

17            33.        During Phase 1, clinical trials are conducted with a small number of human subjects

18 to assess the metabolism, pharmacokinetics, and pharmacological actions of the drug, to determine
19 the side effects associated with increasing doses, and if possible to gain early evidence of the drug’s

20 efficacy. Phase 2 usually involves studies in a limited patient population to assess the efficacy of

21 the drug in specific, targeted indications; assess dosage tolerance and optimal dosage; and

22 determine common short-term side effects and risks associated with the drug. If a compound is

23 found to be potentially effective and to have an acceptable safety profile in Phase 1 and 2

24 evaluations, Phase 3 trials are undertaken to further demonstrate efficacy and to further test for

25 safety in an expanded patient population at geographically dispersed clinical trial sites. Phase 3

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     6
         BioMarin’s Form 10Q for 2Q 2019, filed August 1, 2019.
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     7
         BioMarin’s Form 10Q for 2Q 2019, filed August 1, 2019.
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     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                         - 11 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 13 of 62




 1 trials are intended to gather the additional information about safety and efficacy that is needed to

 2 support product approval.

 3            34.        The FDA has the authority to expedite its review of a drug intended for the

 4 treatment of a serious or life-threatening condition, if the sponsor demonstrates that the product

 5 has the potential to address an unmet medical need. Such products are designated as “fast track

 6 products.” The FDA’s “fast track” authority can significantly shorten the clinical trial process and

 7 regulatory review. Here, as discussed below, BioMarin applied for “fast track” designation for

 8 BMN 307.

 9            35.        Any clinical trial conducted under an IND is subject to FDA regulations, including

10 its good clinical practices, or GCP, requirements (which include safety reporting requirements),

11 informed consent requirements, and institutional review board, or IRB, requirements. As is the

12 case with BMN 307, the FDA may at any time halt an ongoing clinical trial, if the agency believes

13 that patients participating in the trial will be or are being exposed to unacceptable health risks. The

14 FDA may also terminate an IND and require the sponsor to end all clinical trials under the IND, if

15 it finds deficiencies in the IND or in the conduct of the trial under the IND.

16            36.        After successful completion of the required clinical trials, a new drug application

17 or biologics license application (collectively an “application”) is generally submitted. In order for

18 a new drug to be approved, the application must demonstrate that it is safe and effective and that
19 it is manufactured in compliance with current good manufacturing practices, or cGMP.

20 The FDA’s Focus on the Safety of Gene Therapy

21            37.        Gene therapy is the process of replacing damaged or unhealthy genetic material that

22 causes a medical problem, adding genes to help the body fight disease, or turn off genes that are

23 causing problems. In order to insert new genes directly into cells, scientists use a vehicle called a

24 “vector” which is genetically engineered to deliver the gene. Gene therapy can be used to modify

25 cells inside or outside the body. When used to modify cells inside the body, a doctor will inject

26 the vector, such as a virus called adeno-associated virus, or AAV, carrying the gene directly into

27 the part of the body that has defective cells.

28

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                         - 12 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 14 of 62




 1            38.        Safety concerns have dogged gene therapy ever since a series of setbacks two

 2 decades ago temporarily halted research and chilled further investment. Most gene therapies are

 3 designed to achieve permanent or long-lasting effects in the human body, and this inherently

 4 increases the risk of adverse events.

 5            39.        Early studies showed that gene therapy could have very serious health risks, such

 6 as toxicity, inflammation, and cancer. More than 20 years ago, a single gene-therapy study death

 7 all but halted the research in its tracks, when a mostly healthy 18-year-old named Jesse Gelsinger

 8 died of multi-organ failure after receiving an experimental gene therapy for a rare liver disease. In

 9 response to this event, the FDA undertook a series of steps to ensure that all gene therapy sponsors

10 strengthen the systems they had in place for product quality assurance and clinical trial oversight

11 and monitoring for safety issues. In March 2000, the FDA issued the “Gene Therapy Letter” to

12 sponsors of all gene therapy INDs, requesting to submit yearly reports summarizing various

13 aspects of their product development, including product quality, manufacturing, animal safety, and

14 clinical trial conduct. Since 2000, sponsors of gene therapy INDs have submitted their product,

15 preclinical, and clinical information to the FDA for evaluation and feedback, and the FDA has

16 suspended numerous gene therapy trials after clinical patients developed serious health issues,

17 such as leukemia. Numerous public advisory committee meetings have been held.

18            40.        Recently, as sponsors have renewed their efforts into developing gene therapy

19 drugs, there have been multiple reports of treatment emergent serious adverse events in AAV

20 vector-based gene therapy trials. In 2019 a patient dosed with an experimental gene therapy for

21 hemophilia being developed by Amsterdam-based uniQure was diagnosed with Hepatocellular

22 carcinoma (HCC), the most common form of primary liver cancer. In the summer of 2020, four

23 boys died in an Astellas Pharma study of young children with X-linked Myotubular Myopathy

24 after developing liver dysfunction in the weeks after treatment. In a clinical trial of an Audentes

25 Therapeutics gene therapy for a rare neuromuscular disease, liver-related side effects lead to the

26 death of three patients.

27            41.        These issues have led the FDA to flag safety concerns for gene therapies ranging

28 from liver toxicity to kidney injury to tumor formation, and publish guidance to drug sponsors in

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                       - 13 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 15 of 62




 1 which it emphasized the need for preclinical work that studied and identified any such issues before

 2 human trials begin.

 3            42.        In November 2013 guidance, Preclinical Assessment of Investigational Cellular

 4 and Gene Therapy Products, the FDA said the fate of an investigational gene therapy product in

 5 animals is “important” in determining the safety profile of a drug, and it specifically mentioned

 6 tumorgenicity as a potential safety concern that must be studied.              To that end, the FDA

 7 recommended that a pre-clinical trial for gene therapy products should not only be designed to

 8 show the survival of cells for a sufficient length of time to allow for potential tumor formation,

 9 but should include at least one dose level that constitutes the maximum absolute amount of cells

10 that can be administered. 8

11            43.        In a November 2017 presentation, Preclinical Considerations for Gene Therapy

12 Products: An FDA Perspective, the FDA reiterated that tumorigenicity and carcinogenicity are

13 safety concerns that must be taken into account when designing pre-clinical studies. Such concerns

14 must “[a]ssessed prior to the FIH [first in human] clinical trial.” 9

15            44.        In January 2020, following an increase in preclinical use of AAV by drug sponsors,

16 the FDA released detailed guidance to sponsors developing human gene therapy products intended

17 to treat a rare disease in adult and/or pediatric patients regarding the manufacturing, preclinical,

18 and clinical trial design issues for all phases of the clinical development program.               Such
19 information, it explained, was intended to assist sponsors in designing clinical development

20 programs for gene therapy products, where there may be limited study population size and

21 potential safety issues. To justify conducting human (clinical) trials, the FDA recommended,

22 among other things, that a new drug sponsor consider and identify any safety concerns and

23 potential toxicities when performing pre-clinical studies.

24

25

26   8
         https://www.fda.gov/media/87564/download; https://www.fda.gov/media/87593/download
27   9
      https://www.toxicology.org/groups/sig/aact/images/AACT%20webinar.presentation.
   Huang.final.pdf
28

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                        - 14 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 16 of 62




 1            45.        In September 2021, the FDA held a two-day meeting specifically to discuss toxicity

 2 risks of adeno-associated virus (AAV) vector-based gene therapy product. The meeting was held

 3 in response to toxicities observed in animals and humans after administration of gene therapy

 4 products. As it observed, in recent years “there have been multiple reports of treatment-emergent

 5 serious adverse events (TESAEs, serious adverse events that occur after treatment has started) in

 6 GT studies with AAV vector-based products.” The discussion included the role of patient disease

 7 state, clinical trial exclusion criteria, AAV administration procedure, long-term patient monitoring,

 8 vector dose, and drug product quality, in addition to potential further non-clinical studies.

 9 BioMarin’s PKU Franchise, “Pill to Protein to Gene Therapy.”

10            46.        PKU is a rare inherited disorder that causes an amino acid called phenylalanine

11 (Phe) to build up in the body. PKU is caused by a defect in the gene that helps create the enzyme

12 needed to break down phenylalanine. Without the enzyme necessary to process phenylalanine, a

13 dangerous buildup can develop when a person with PKU eats foods that contain protein or eats

14 aspartame, an artificial sweetener. This can eventually lead to serious health problems.

15            47.        In 2007, BioMarin received FDA approval for Kuvan, the first drug therapy for the

16 treatment of PKU. Since then, Kuvan, which is taken as a tablet or dissolvable powder, has been

17 administered to more than 7,800 patients in the U.S. and has been BioMarin’s second biggest

18 product, consistently generating about 30% of BioMarin’s drug revenue.
19            48.        In 2018, BioMarin added a second therapy to its PKU franchise, when it received

20 approval for Palynziq, an injectable enzyme therapy.

21            49.        For more than a decade, Kuvan was the only FDA-approved drug treatment for

22 PKU. But, in recent years, BioMarin has begun to face competition from generic versions of

23 Kuvan. For example, Par Pharmaceutical Cos. Inc., applied for approval of its generic version of

24 Kuvan in February 2016, and pharmaceutical company Dr. Reddy, likewise announced that it

25 would seek approval to sell generic Kuvan. Once both competitors began marketing their generic

26 versions in 2020, BioMarin’s Kuvan revenue was immediately halved, from $457 million in 2020

27 to $286 million in 2021. In a press release announcing fourth quarter and full year 2021 business

28

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                        - 15 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 17 of 62




 1 and financial results, BioMarin attributed the steep decline in revenue to the loss of exclusivity of

 2 Kuvan.

 3            50.        To combat this competition and preserve its PKU franchise, BioMarin begun

 4 developing a third potential PKU treatment, a gene therapy designed to normalize blood

 5 phenylalanine (Phe) concentration levels in PKU patients. This gene therapy would be known as

 6 “BMN 307.” Unlike previous drugs, BMN 307 was designed to offer long-lasting PKU relief – a

 7 one-and-done treatment. The development of the BMN 307 gene therapy was the next phase in

 8 BioMarin’s “pill to protein to gene therapy” strategy.

 9 BioMarin’s 2018 R&D Day and Announcement of BMN 307

10            51.        At BioMarin’s annual R&D Day, held on November 7, 2018, BioMarin provided

11 an update on its development pipeline. Among others, defendants Bienaimé, Fuchs, and Cardon

12 attended the conference, and defendant Fuchs introduced analysts and investors to the Company’s

13 next iteration in BioMarin’s PKUportfolio – a new investigational PKU gene therapy, known as

14 “BMN 307.”

15            52.        BMN 307 was the “main event” of the 2018 R&D Day and Cardon, BioMarin’s

16 Senior VP & Chief Scientific Officer, “shared pre-clinical data of its investigational gene therapy

17 program for PKU using an AAV5 PAH vector, which demonstrated lifetime Phe corrections in

18 mouse models”:
19                    So let’s go to the main event, PKU gene therapy. I’ve given you now a bit
              of the approach that BioMarin has and a bit of the vision on where we’re going to
20            go. Let’s get to the PKU gene therapy. Now, you’ll know that BioMarin has a long
              history in this particular disease. We know the patients, we know the disease, we’re
21            involved very carefully with the physicians back a decade from Kuvan, a great
              recent approval of Palynziq and hopefully, with the candidate for gene therapy on
22            PKU. Our treatments are really mirroring the progress of science, it’s pills to
              proteins to gene therapy. That’s exactly how the field has gone and that’s exactly
23            how we are going. . . . What I’ll walk through with you then is basically the
              chronology of how we came to the program that we’ve got, okay? I’ll go through
24            each of these in a bit of detail. Firstly, just screening, to see if we have a product
              for gene therapy. And we did that by examination of coat color, I’ll walk through
25            that. We then looked more quantitatively at levels of phenylalanine and how far
              down we can correct the disorder. We then went into a program. As I mentioned
26            before, we’ve invested in vector biology and gene therapy to improve the potency
              further of that and decrease the dose, and I’ll show you the results of that. If we are
27            appropriately correcting the defect here of phenylalanine, we should have
              consequences on neurotransmitters and ultimately on neurocognitive deficits. I’ll
28            show you the data that we’ve developed preclinically on that. And finally, just as

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                         - 16 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 18 of 62




 1            a hint toward the end, you’ll see that we correct phenylalanine so well into such a
              level that we needed to make sure that we don’t overshoot on this and correct too
 2            far from turning a hyper phenylalanine state into a hypo Phe state. The biology is
              helping us there. But nonetheless, we’ve explored that thoroughly and don’t feel,
 3            at least preclinically, that we have concerns in that area. I’ll walk through that as
              well.
 4
                      So to introduce you to the program. We call it BioMarin 307. It’s a liver-
 5            directed gene therapy. We are you using AAV 5, leveraging the work from valrox
              with hemophilia. We will have our IND filing in the second half of 2019, and
 6            we’ll go straight into commercial scale material with our first patient. So there will
              be no transition in the overall process with BioMarin 307 from the very first patient
 7            until the filing.

 8                     In order to develop this product, we used a validated mouse model of PKU,
              it’s the ENU2 mouse. It’s used by many groups. It’s a good mouse model as far
 9            as these go because it does recapitulate a number of the phenotypes that we’re
              interested in, in humans with respect to phenylalanine levels, neurotransmitters, et
10            cetera.

11                                              *       *       *

12            So we – there’s a number of studies, there’s hundreds of mice involved in various
              studies that – in all of this work that I’m describing to you. This next one we
13            undertook for quite a long time. In fact, we took a life – we took on a lifetime study
              of mice, so the full longevity of mice, 80 weeks it is in this particular model, and
14            asked what the effect of this particular treatment is on those. And I’ll show you
              just here. The black lines there are the mutant mouse. These are PKU mice,
15            effectively. That’s the mutant mouse with no treatment, okay, or with a vehicle.
              And you can see that those are different mice, the lines are different mice
16            themselves, and you can see they’re getting smaller because that’s the end of the
              lifetime of those mice under the mutant model.
17
              53.        Cardon concluded by summarizing the results of the BMN 307 program and laying
18
     out the next steps in developing BioMarin’s next generation PKU therapy:
19
                       So that’s our PKU gene therapy, our program. The summary is in the mice,
20            in the ENU2 model of mice, we got lifetime Phe normalization. We’ve got
              normalized neurotransmitter levels. We vector optimized to improve our potency.
21            I think it’s a great advantage that we have all the experience that we have with AAV
              5 and with manufacturing. We’ve leveraged that for this particular program. I
22            mentioned that we’re – our nonhuman primates studies are already reading out
              in terms of data they already have, in terms of the hypo Phe state, and are continuing
23            for the other investigations. All of our nonclinical studies will be done in the first
              half of next year. We’ll have the commercial scale material available in the second
24            half, which is when we’ll file our IND. That is the PKU story.

25                                                  *       *       *

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     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                        - 17 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 19 of 62




 1

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 3

 4
              54.        In response to questions from analysts about whether BioMarin expected
 5
     translatability issues of the drug from mice to humans, Cardon confirmed:
 6
                     We’re not expecting any. And we’ve got some things going for us already.
 7            Remember, that’s the human version of the treatment that we’re including and
              we’ve looked at in nonhuman primates, so we’re not just in mice at this point. We
 8            debated behind the scenes whether even to describe the hypo Phe data. I wanted to
              show it just to be comprehensive about the whole thing. The modulation biology
 9            should work here. And it should take care of it for us. But because we know of
              individual differences in response to gene therapy in general, and because we’re
10            normalizing it so beautifully, I thought it would be worth just showing out there.
              And in fact, we can’t drive it to a hypo Phe state, at least, in nonhuman primates
11            and in mice, and we don’t expect it to be different.

12            55.        Also on November 7, 2018, in conjunction with the R&D Day, BioMarin issued a

13 press release titled: BioMarin Highlights Breadth of Innovative Development Pipeline at R&D Day

14 on November 7th in New York, in which the Company explained that it had “updated the

15 investment community on the Company’s research and development portfolio”:

16            BMN 307 Program Update

17                    BioMarin shared pre-clinical data of its investigational gene therapy
              program for PKU using an AAV5 PAH vector, which demonstrated lifetime Phe
18            corrections in mouse models. Mouse coat color is a readily detectable biomarker
              of therapeutic response, and the coat color of all of the mice treated with BMN 307
19            changed from light brown, evidence of high Phe levels, to black, evidence of
              therapeutic activity. Treated mice showed normalized Phe levels sustained
20            through 80 weeks, associated with normalization of circulating neurotransmitter
              levels, which are involved in neurological characteristics of human PKU.
21
                   BioMarin plans to file an investigational new drug application (IND) for
22            BMN 307 with the FDA in the second half of 2019.

23            56.        Bienaimé provided additional commentary on BMN 307’s pre-clinical data on

24 January 7, 2019 during the JPMorgan Global Healthcare Conference, where he addressed investors

25 and analysts and described the lengthy, lifetime, 80-week pre-clinical studies:

26                    So case in points, BMN 307 for PKU gene therapy anticipated to get IND
              before the end of this year. We use a variegated mouse model, the ENU2 mice
27            model, which we use for Kuvan and Palynziq. The model is very close to the human
              PKU phenotype. So we’ve been able to show that we can restore functions, and
28            one of the characteristics of the PKU mice is that they have a discolored light coat

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                      - 18 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 20 of 62




 1            color, and if you treat them with our gene therapy product, they come back into a
              normal colored mouse. But more exciting, we have now, and we have presented
 2            that data last November, but this is model we treated mice with one injection of
              our PKU gene therapy drug product. And you see then within 2 months, so this
 3            is the Phe levels, on the Y axis are the Phe levels, the weeks on the x-axis. We did
              2 weeks, we normalized the Phe levels on this mice. So you can see that at the
 4            bottom of the slide here, there is no difference between wild type Phe levels here
              and the ENU2 mice that were treated with our product. So there is absolute
 5            normalization of the Phe levels here. For 80 weeks, which is about 2 years, close
              to 2 years, which is the normal – close to normal lifespan of mice. And our mice
 6            appear to live longer than our competitors’ mouse for unexplained reasons.

 7            57.        On February 21, 2019, BioMarin announced its full year and fourth quarter 2018

 8 business and financial results. Addressing BNM 307, Bienaimé confirmed the progress of BMN

 9 307 and the data that was shared at the 2018 R&D Day and in January 2019, providing: ‘“BMN

10 307, our gene therapy product for PKU, . . . demonstrated lifetime normalization of Phe in a

11 validated PKU mouse model. We plan to complete preclinical studies in the first half of 2019

12 with an anticipated IND filing planned for the second half of 2019.’” And in the Company’s

13 corresponding press release also issued on February 21, 2019, BioMarin provided:

14            BioMarin Announces Full Year and Fourth Quarter 2018 Results
15                                                *       *       *

16                    Mr. Bienaimé continued, “In November of 2018, we showcased a number
              of our other pipeline and research programs at BioMarin’s annual Research and
17            Development Day. . . . [W]e were pleased to share initial pre-clinical data for BMN
              307, our gene therapy product for PKU, which demonstrated lifetime
18            normalization of Phe in a validated PKU mouse model. We plan to complete
              preclinical studies in the first half of 2019 with an anticipated IND filing planned
19            for the second half of 2019.”

20                                                    *       *       *

21            Key Program Highlights
22                                                *       *       *

23            •          BMN 307 gene therapy product candidate for phenylketonuria (PKU):
                         The Company expects to submit an investigational new drug application
24                       (IND) and/or a clinical trial application (CTA) for a gene therapy product
                         for the treatment of PKU in the second half of 2019. At R&D Day 2018,
25                       BioMarin shared data with BMN 307 that demonstrated a lifetime Phe
                         correction sustained at 80 weeks in preclinical mouse models. BMN 307
26                       is an AAV vector containing the DNA sequence that codes for the
                         phenylalanine hydroxylase enzyme that is deficient in people with PKU.
27

28

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                       - 19 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 21 of 62




 1            58.        On February 21, 2019, Defendants held a conference call with investors and

 2 analysts to discuss the Company’s 4Q 2018 business and financial results. Among others,

 3 defendants Bienaimé and Fuchs participated in the investor conference call. During the call,

 4 defendant Fuchs described BMN 307’s status and 80-week studies:

 5            Recall the preclinical data we shared in January, using the ENU2 mouse model,
              which we used for Palynziq and which is close within a PKU phenotype. We
 6            demonstrated that within 2 weeks, Phe levels would normalize with BMN 307
              treatment, continuing out to 80 weeks, well beyond the expected lifespan of the
 7            untreated ENU2 mouse. We look forward to putting this product in the clinic and
              to leveraging our valrox manufacturing experience to initiate clinical studies with
 8            commercial scale material.

 9            59.        During the Q&A portion of the Q4 2018 conference call with analysts and

10 investors, defendant Fuchs addressed the documented “durable expression” documented in BMN

11 307’s pre-clinical trials:

12            Analyst: . . . And then on your PKU gene therapy, so it looked like the data we got
              at the R&D Day was using your mirroring construct. So just to clarify, are you
13            able to show lifetime durability using a [humanized] construct? And what type of
              translational work are you doing with nonhuman primates in order to get a better
14            understanding on how your – how 307 will behave in patients?

15            Fuchs: . . . As far as the construct’s use for 307, we showed you both the mirroring
              construct going out a really long time and shorter duration experiments for the
16            human construct. You can’t evaluate durability of expression of the human
              construct in a mirroring species given the heterologous nature of the protein. So
17            the experiments that we [indiscernible] species. The – so the experiments that
              document durable expression were done with mirroring construct. We have no
18            reason to expect that in humans the human construct will behave any differently.
              And I think your last question was about nonhuman primates, but I think we’ve
19            covered a lot of ground right here.

20            60.        On August 1, 2019, in connection with the Company’s 2Q 2019 results, Defendants

21 held a conference call with analysts and investors during which they discussed BioMarin’s PKU

22 gene therapy.          Among others, defendants Bienaimé and Fuchs participated in the investor

23 conference call. During the call, Jeffrey Ajer, BioMarin’s Executive Vice President and Chief

24 Commercial Officer discussed BMN 307 and answered questions about the proper human dosing

25 level, confirming that the proper dose could not be determined “until we get to human clinical

26 trials”:

27                   There’s still a lot of learning from valrox to PKU gene therapy program.
              We’ll go into this in a little bit more detail at R&D Day. But the short version is
28            that we won’t really know what the effective dose in humans is until we get to

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                      - 20 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 22 of 62




 1            human clinical trials. And we know that the amount of liver transduction is
              influenced by the amount of dosing you give. So a lot of this is TBD.
 2
              61.        On October 23, 2019, BioMarin announced business and financial results for its
 3
     third quarter ended September 30, 2019. The Company’s press release issued on October 23, 2019,
 4
     revealed that “[o]n September 26, 2019, the Company submitted a [clinical trial application] CTA
 5
     with the medicines and Healthcare Products Regulatory Agency (MHRA) in the U.K.” and again
 6
     highlighted BMN 307’s favorable “preclinical data.”
 7
         DEFENDANTS’ MATERIALLY FALSE AND MISLEADING STATEMENTS AND
 8                          MATERIAL OMISSIONS
 9            62.        The Class Period begins on November 14, 2019, when Defendants discussed BMN

10 307 at BioMarin’s 2019 R&D Day for investors and analysts in New York City. Defendants Fuchs,

11 Bienaimé, and Cardon, as well as other BioMarin senior executives, all attended this investor

12 conference and presented information about BioMarin’s product development and business.

13 Cardon discussed BioMarin’s PKU “franchise play,” updated investors on the status of BMN 307,

14 and confirmed that pre-clinical trials were complete:

15            Last year, just as a very brief recap, I spent some time to walk through, in some
              detail, the preclinical data that led us to this program. I described complete
16            phenylalanine normalization in our mouse models out to the lifespan of those
              mice, which was 80 weeks. We described treatment effects that were, again,
17            completely normalizing in both males and females. And we described that the
              results of that normalization was a correction of key neurotransmitters, not just in
18            plasma. But in the brain, which was really exciting and the first time, I think,
              someone had shown that for PKU.
19
                      So these are the data that we went through in some detail. And I’m sure
20            there – the slides and the material are available from last year’s presentation. What
              have we been doing in the past year and where are we now is the question. Well
21            we finished the nonhuman primate studies, we’ve got our safety. Our toxicology
              is done. Our efficacy is completed. We spent most of our time interacting with
22            regulatory and payer groups and on manufacturing. So we’ve had some really
              positive pre-IND and European Health Authority scientific meetings. Importantly,
23            those interactions have been very supportive of the design we have put forward.

24                                                  *      *       *

25                     So the clinical trial will be an observational study. We call that PHEnom.
              The first patients have been enrolled already in our observational study. Those
26            patients will roll into the gene therapy interventional. Again, one treatment study,
              which we call PHEarless. That will be – that interventional study will have 2
27            components. It will be – we’ll start at an agreed dose and we will dose escalate.
              And then we will expand those cohorts as appropriate when they meet certain
28            criteria. So that’s effectively the design.

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                       - 21 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 23 of 62




 1                   So the summary of where we are with our IND? We finished our
              nonhuman primate and mass GLP studies. Really pleased with the manufacturing
 2            campaign. It’s done for the entire – whatever the dose cohort we end with, we are
              ready. A number of succesdful regulatory interactions with a broad number of
 3            groups. And it’s really helped us to align on the plan for the overall program. We
              announced in September that we submitted our CTA to the U.K.
 4
                     I can tell you today, we received very positive initial comments back from
 5            that CTA just a few weeks ago. We’re very confident that we’ll clear the CTA this
              year. And we’ll be right on track as we declared to dose first patients early next
 6            year. We’ll – our IND submission on the back of that CTA is imminent. We’ll
              have this – that this year. So all on track with PKU. Great regulatory. Really
 7            happy with the manufacturing side. And that study is ready to go.

 8            63.        During the Q&A portion of the conference, Fuchs and Cardon answered questions

 9 about BMN 307’s IND, the Phase I/II study, and BMN 307’s durability in the mouse studies:

10            Analyst: [O]n the PKU potentially registrational Phase I/II. Can you give us maybe
              a little bit more details on your interactions with the regulators as to that trial
11            design? In particular, how long, how many patients and what proportion of patients
              will need to get to Phe normalization in order for it to support registration? . . .
12
              Fuchs: So how many patients is going to be driven by the amount of dose
13            escalation that has to occur on the one hand. And so it’s a fairly traditional dose
              escalation trial. But once an active dose is found and criteria for that are in the
14            protocol, they’ll be covered [ph] expansion. Then patients will be followed, I think,
              for a year, I’m going to look at Jeff, to document the durability of expression of the
15            transgene and the maintenance of phenylalanine correction law and normal diet.
              The numbers that we’ve discussed with the health authorities for supporting
16            registration are also informed by a consideration. We may want to take more than
              one dose level forward.
17
                      So we’ll expand at the first sign of Phe correction. And we will consider, if
18            safe, escalating to a higher dose and expanding that as well. And basically, the
              first dose that gets across the finish line will trigger initiation of registration
19            applications and could potentially be followed by filing for a higher dose.
              Underneath all of that, by the way, are our potential durability considerations that
20            may take years to work out. And we don’t want to hold up the program’s
              registration while we sort out long-term – long-long-term durability considerations.
21            So that’s what should happen on the sample size and time considerations. Then,
              Lon, you want to take over?
22
                                                *       *       *
23
              Analyst: . . . [C]an you just comment maybe a little bit more on durability
24            considerations for PKU? And I guess in the context of what you saw with valrox,
              how you think about durability and you think about construct and you think about
25            steroids potentially in that study. . . .

26            Cardon:         Well so durability. So we’ve got a secreted protein with valrox
              versus an intracellular one. So we need to see what that’s going to look like. The
27            mouse data looked great as far out as the eye could see in terms of durability. I
              think – will there be variability, will there be – I think that’s going to be biology
28            with this. But I don’t know that the lessons of valrox will translate directly because

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                        - 22 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 24 of 62




 1            of the different construct. The capsid is one thing, transduction – but the construct
              itself that’s going in. Steroids. Do you want to talk about thinking on steroids,
 2            Hank?

 3            64.        In closing the investor R&D Day, Bienaimé addressed the PKU franchise,

 4 expressing that:

 5            [W]e believe PKU gene therapy will have also a significant impact in increasing
              that PKU franchise.
 6
                     So just wanted to add in one item also on Palynziq, regarding Kuvan
 7            generics that are likely to be on the market in about a year from now, in the U.S.
              In Europe, we have protection until 2024. But I think compared to the usual generic
 8            erosion and impact on a brand, what I want to emphasize is that we might lose some
              adult PKU patients to Kuvan generics. But these patients are not lost forever to
 9            BioMarin. We will very likely to get some of them back on Palynziq down the
              road. And hopefully, we’ll get all of them treated with gene therapy down the
10            road.

11            65.        Following the 2019 R&D Day, Defendants issued a press release discussing the

12 presentation and the BMN 307 program update they had provided:

13                    BioMarin shared pre-clinical data of its investigational gene therapy
              program for PKU using an AAV5 PAH vector, which demonstrated lifetime Phe
14            corrections in mouse models. Mouse coat color is a readily detectable biomarker
              of therapeutic response, and the coat color of all of the mice treated with BMN 307
15            changed from light brown, evidence of high Phe levels, to black, evidence of
              therapeutic activity. Treated mice showed normalized Phe levels sustained
16            through 80 weeks, associated with normalization of circulating neurotransmitter
              levels, which are involved in neurological characteristics of human PKU.
17
                   BioMarin plans to file an investigational new drug application (IND) for
18            BMN 307 with the FDA in the second half of 2019.

19            66.        Defendants’ statements on November 14, 2019 (¶¶62-65), and identical statements

20 made throughout the Class Period regarding BMN 307, were materially misleading when made

21 and omitted to disclose material facts necessary to not make the statements made misleading.

22 Defendants knew or recklessly disregarded, but failed to disclose until the end of the Class Period,

23 the following:

24                       (a)    Contrary to Defendants’ positive statements in ¶62 that “The mouse data

25 looked great as far out as the eye could see in terms of durability,” as Defendants admitted

26 beginning in its September 5, 2021 press release and as further disclosed thereafter (¶¶12, 14-15,

27 106, 109-110, 112-120), that they had observed liver tumors in a pre-clinical study to test BMN

28 307’s durability at 52 weeks in 85% of mice dosed at the 2e14 Vg/kg level;

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                       - 23 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 25 of 62




 1                       (b)   Contrary to Defendants’ assurances on November 14, 2019 (¶62) that “we

 2 finished the nonhuman primate studies, we’ve got our safety. Our toxicology is done. Our

 3 efficacy is completed,” Defendants failed to disclose that, as admitted beginning on September 5,

 4 2021 (¶¶12, 14-15, 106, 109-110, 112-120), they had observed liver tumors at 52 weeks in a pre-

 5 clinical study in 85% of mice dosed at the 2e14 Vg/kg level;

 6                       (c)   Despite Defendants’ representations in ¶62 that the “preclinical data that

 7 led us to this program” – which according to Defendants was completed before the start of the

 8 Class Period in the first half of 2019 (¶¶7, 53, 57, 62-63) – showed “complete phenylalanine

 9 normalization in our mouse models out to the lifespan of those mice, which was 80 weeks,”

10 Defendants had observed tumors in a pre-clinical durability study at 52 weeks (¶¶12, 14-15, 106,

11 109-110, 112-120);

12                       (d)   Having acknowledged on August 1, 2019 (¶60) and August 13, 2020 (¶80)

13 that they could not know what the correct human dose would be “until we get to human clinical

14 trials” because the “first goal [of the clinical trials] is to find the dose,” “you can only find that

15 out when you go into human[ clinical trials],” and “we may have to go to a higher dose as well,”

16 Defendants omitted to disclose, and otherwise had no basis to discuss “dose escalat[ion]” and the

17 “dose cohort” in BMN 307’s human clinical trials without disclosing that they had observed

18 tumors at 52 weeks in 6 of 7 mice at higher doses of BMN 307. (¶¶62-63). Similarly, in stating
19 that “we will consider if safe, escalating to a higher dose and expanding that as well,” (¶63)

20 Defendants knew but failed to disclose that in pre-clinical studies higher doses had caused liver

21 tumors in mice; and

22                       (e)   While Defendants discussed BioMarin’s PKU franchise and explained that

23 “we believe PKU gene therapy will have also a significant impact in increasing that PKU

24 franchise,” (¶64) Defendants failed to disclose that they had observed tumors in a pre-clinical

25 study of BMN 307, BioMarin’s next generation gene therapy and next step in the Company’s “pills

26 to proteins to gene therapy” strategy.

27

28

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                      - 24 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 26 of 62




 1            67.        Defendants’ statements on November 14, 2019, (¶¶62-65) which were false and

 2 misleading when made, had a direct effect on BioMarin’s stock price, which continued to trade at

 3 artificially inflated levels as a result of Defendants’ material misstatements and omissions.

 4            68.        On January 9, 2020, defendant Bienaimé presented at the Goldman Sachs

 5 Healthcare CEOs Unscripted: A View from the Top investor conference. Bienaimé expressed his

 6 excitement about BMN 307, noting that “using a very well-established PKU mouse model . . . we

 7 show there is no safety issue.”

 8            69.        On January 13, 2020, BioMarin announced that BMN 307 had been approved for

 9 clinical trials and the Company “expects to start dosing patients in PHEARLESS, a Phase 1/2

10 study, in the first quarter of 2020,” which “will evaluate the safety, efficacy, and tolerability of a

11 single intravenous administration of BMN 307 in patients with PKU. The study consists of a dose-

12 escalation phase, followed by a cohort expansion phase once an initially efficacious dose has been

13 demonstrated.”

14            70.        Also on January 13, 2020, while addressing analysts and investors at the J.P.

15 Morgan Healthcare Conference, defendant Bienaimé discussed the human clinical studies:

16            So just a few words about our, again, next PKU – I mean next gene therapy in PKU
              products, BMN 307, gene therapy for PKU. We just announced today that U.S.
17            and the U.K. cleared the path to start the clinical trial. So we are implementing 2
              study. The first one, the 902 study, the PHEnom study, which is an observational
18            study in patients with PKU, which started a few months ago. And now we are
              about to start the 201 or PHEarless trial, which is going to be a dose escalation,
19            dose selection study with a Part B expansion anticipated in the second half of this
              year. This study could potentially be the registration enabling Phase I/II study.
20            And something we also want to emphasize that none of our competitors are able to
              do is that we are doing our first-in-human trial here for PKU gene therapy at
21            commercial scale with a commercial facility. So there won’t be any need to do any
              kind of bridging trial between early Phase I/II trial, the pivotal trial. We are right
22            away starting with commercial scale, which I said earlier, can right now generate
              up to 10,000 patient doses per year.
23
              71.        On February 26, 2020, BioMarin announced results for 4Q 2019. The Company’s
24
     press release issued that same day quoted defendant Bienaimé providing an update on BMN 307:
25
              Building on the success of our phenylketonuria (PKU) franchise with Palynziq and
26            Kuvan, we announced in January that both the United States and the United
              Kingdom health authorities had given the go-ahead to start dosing patients with
27            PKU with our BMN 307 gene therapy in a Phase 1/2 study. We plan to treat patients
              with BMN 307 in the first quarter using product made at commercial scale from
28            our award-winning gene therapy manufacturing facility. . . .

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                        - 25 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 27 of 62




 1                                                *      *      *

 2                    Preclinical data with BMN 307 demonstrated a lifetime Phe correction
              sustained at 80 weeks in mouse models. BMN 307 is an AAV vector containing
 3            the DNA sequence that codes for the phenylalanine hydroxylase enzyme that is
              deficient in people with PKU.
 4
              72.        That same day, on February 26, 2020, Defendants held a conference call to discuss
 5
     its 4Q 2020 business and financial results. Among others, defendants Bienaimé and Fuchs
 6
     participated in the investor conference call, during which Fuchs discussed the status of BMN 307:
 7
                       Turning now to BMN 307, our investigational gene therapy for
 8            phenylketonuria. We expect to start enrolling patients in the PHEarless Phase II
              study, which is a dose-escalation, dose-selection study later this quarter, with an
 9            expansion arm expected in the second half of the year. This study could potentially
              be registration enabling past that expansion as we’re conducting it with material
10            manufactured using a commercial-ready process to derisk this program and
              facilitate rapid clinical development and registration. We are excited about the
11            prospect of BMN 307 as it represents a potential third treatment for
              phenylketonuria in our franchise; and a second gene therapy development
12            program, leveraging our learnings and capabilities from valrox.

13            73.        Defendants’ statements on January 9, 2020, January 13, 2020, and February 26,

14 2020, (¶¶68-72), and identical statements made throughout the Class Period regarding BMN 307,

15 were materially misleading when made and omitted to disclose material facts necessary to not

16 make the statements made misleading. Defendants knew or recklessly disregarded, but failed to

17 disclose until the end of the Class Period, the following:

18                       (a)    Contrary to Defendants’ assurances in ¶¶68-69 that “using a very well-

19 established PKU mouse model . . . we show there is no safety issue” and otherwise discussing

20 “safety, efficacy, and tolerability” issues, Defendants failed to disclose that, as admitted beginning

21 on September 5, 2021 and as further disclosed thereafter (¶¶12, 14-15, 106, 109-110, 112-120),

22 they had observed liver tumors at 52 weeks in a pre-clinical study in 85% of mice dosed at the

23 2e14 Vg/kg level;

24                       (b)    Having later acknowledged on August 1, 2019 (¶60) and August 13, 2020

25 (¶80) that they could not know what the correct human dose would be “until we get to human

26 clinical trials” because “first goal [of the clinical trials] is to find the dose,” “you can only find

27 that out when you go into human[ clinical trials],” and “we may have to go to a higher dose as

28 well,” Defendants omitted to disclose and otherwise had no basis to discuss “dosing patients” and

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                       - 26 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 28 of 62




 1 the “dose-escalation phase” of the BMN 307 clinical trials (¶¶70-72) without disclosing that in

 2 pre-clinical studies they had observed tumors at 52 weeks in 6 of 7 mice at higher doses of BMN

 3 307; and

 4                       (c)    Defendants had no reasonable basis in fact to support their positive, but

 5 misleading statement concerning BioMarin’s PKU franchise and expressed “excite[ment] about

 6 the prospect of BMN 307 as it represents a potential third treatment for phenylketonuria in our

 7 franchise” (¶72), because Defendants failed to disclose that they had observed tumors in a pre-

 8 clinical study of BMN 307, (¶¶12, 14-15, 106, 109-110, 112-120) BioMarin’s next generation gene

 9 therapy and next step in the Company’s “pills to proteins to gene therapy” PKU franchise strategy.

10            74.        Defendants’ statements on January 9, 2020, January 13, 2020, and February 26,

11 2020, (¶¶68-72) which were false and misleading when made, had a direct effect on BioMarin’s

12 stock price, which continued to trade at artificially inflated levels as a result of Defendants’

13 material misstatements and omissions.

14            75.        On April 29, 2020, BioMarin announced business and financial results for the first

15 quarter of 2020. In the release, the Company addressed the status of BMN 307, which according

16 to the Company’s Form 10Q, transitioned from the “Preclinical” stage to the “Clinical Phase

17 1/2” stage following IND approval in 1Q 2020. 10 Defendants further highlighted the favorable

18 pre-clinical data that supported its clinical IND application:
19            Preclinical data with BMN 307 demonstrated a lifetime Phe correction sustained
              at 80 weeks in mouse models. BMN 307 is an AAV vector containing the DNA
20            sequence that codes for the phenylalanine hydroxylase enzyme that is deficient in
              people with PKU.
21
              76.        On June 4, 2020, Fuchs addressed investors and analysts about BMN 307 at the
22
     Jefferies Healthcare Conference. In response to analyst questions about BMN 307, the lifetime of
23
     the mice in BioMarin’s preclinical study, and BMN 307’s durability, Fuchs explained:
24
              Moderator: Fair. Let’s move on to PKU gene therapy. So in the animal’s mouse
25            model, you show sustained – you have a few corrections in the lifetime of the
              mice. Have you measured – what was the enzyme activity levels of treatment
26            within the mouse model from baseline? The reason why I’m asking that question
              is, if we assume that in humans, enzyme activity levels would decline over time
27
     10
          Compare, e.g., BioMarin’s Form 10Q for 3Q 2019 with BioMarin’s Form 10Q for 1Q 2020.
28

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                        - 27 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 29 of 62




 1            similar to Factor VIII levels, then I’m kind of wondering what you – what would
              you think about the minimum PAH activity levels required in the liver for [Fe]
 2            correction in humans?

 3            Fuchs:         Well, I think while the Factor VIII level declines in humans over,
              now, a relatively longish period of time, the clinical significance of those declines
 4            is unclear given the ADR rate that we see. And similarly, I think with
              phenylketonuria, what we’re going to care about mostly is the blood phenylalanine
 5            levels. And here, we have a bit of an advantage, that is that you can overshoot an
              enzyme expression without apparent toxicity, will cause clinically relevant
 6            hypophenylalaninemia from having too much phenylalanine hydroxylase in your
              liver.
 7
                     And I think there are some other things that are going to make comparison
 8            between ROCTAVIAN clinical data and PKU clinical data a little bit more difficult
              than just the fact that we’re measuring, in one case, the transgene product, in
 9            another case, the substrate of the transgene product.

10                   I think also just the state of liver health has the potential to be different
              between the 2 populations. And so I think we should approach the 307 data with
11            an open mind as to durability. The ENU2 mice data are very encouraging and
              very consistent with what you see in the field in general.
12
              77.        Defendants’ statements on April 29, 2020 and June 4, 2020 (¶¶75-76), and identical
13
     statements made throughout the Class Period regarding BMN 307, were materially misleading
14
     when made and omitted to disclose material facts necessary to not make the statements made
15
     misleading. Defendants knew or recklessly disregarded, but failed to disclose until the end of the
16
     Class Period, the following:
17
                         (a)    Contrary to Defendants’ positive statements in ¶76 that investors should
18
     approach the clinical data “with an open mind as to durability” because “[t]he ENU2 mice data
19
     are very encouraging and very consistent with what you see in the field in general,” as
20
     Defendants admitted on September 5, 2021, and further disclosed thereafter (¶¶12, 14-15, 106,
21
     109-110, 112-120), a pre-clinical study to test BMN 307’s durability resulted in liver tumors at 52
22
     weeks in 85% of mice dosed at the 2e14 Vg/kg level;
23
                         (b)    Although Defendants recognized that BMN 307 had transitioned from the
24
     “Preclinical” stage to the “Clinical Phase 1/2” stage following IND approval in 1Q 2020 (¶75),
25
     Defendants failed to disclose that, as Defendants admitted beginning on September 5, 2021 (¶¶12,
26
     14-15, 106, 109-110, 112-120), a pre-clinical study to test BMN 307’s durability resulted in liver
27
     tumors at 52 weeks in 85% of mice dosed at the 2e14 Vg/kg level; and
28

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                        - 28 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 30 of 62




 1                       (c)    Despite Defendants’ representations in ¶75 that the “preclinical data” –

 2 which according to Defendants, pre-clinical studies were completed before the start of the Class

 3 Period in the first half of 2019 (¶¶7, 53, 57, 62-63) – “demonstrated a lifetime Phe correction

 4 sustained at 80 weeks in mouse models” Defendants had observed liver tumors in a pre-clinical

 5 mouse study at 52 weeks (¶¶12, 14-15, 106, 109-110, 112-120).

 6            78.        Defendants’ statements in April and June 2020 (¶¶75-76), which were false and

 7 misleading when made, had a direct effect on BioMarin’s stock price, which continued to trade at

 8 artificially inflated levels as a result of Defendants’ material misstatements and omissions.

 9            79.        On August 4, 2020, BioMarin released its second quarter 2020 (¶¶75-76) business

10 and financial results. Defendants held a conference call with investors and analysts that same day

11 to discuss the Company’s 2Q 2020 business and financial results. During the investor conference

12 call, which was attended by defendants Bienaimé and Fuchs, among others, Fuchs stated:

13                    Moving onto BMN 307, our investigational gene therapy for PKU. We’re
              continuing to prepare new sites, and depending on the ongoing impact of COVID-
14            19, we believe, we could begin dosing in the Phase I/II study, named PHEarless,
              later in the third quarter. We’re excited about the prospect of BMN 307 as it
15            represents the potential third PKU treatment option in our PKU franchise and a
              second gene therapy development program leveraging our learnings and
16            capabilities from ROCTAVIAN.

17            80.        On August 13, 2020, during a Canaccord Genuity Growth Conference, Fuchs

18 addressed analysts and investors, stating:
19                    The trial that we’re implementing has potential be a Phase I/II/III trial.
              We’re using material from the commercialized facility. So if we are able to
20            demonstrate effectiveness to a conclusive degree, we will have all of the bells and
              whistles of a registration trial. It’s a Phase I/II in the sense that there’s a dose
21            escalation and expansion phase. So the first goal is find the dose. We’re starting
              at a dose that we think has got a reasonably good shot at being effective. It’s been
22            effective preclinically, but we may have to go to a higher dose as well. And you
              can only find that out when you go into humans. The primary endpoint of the
23            study is going to be blood phenylalanine levels.

24                    The target of effectiveness is to basically get everybody in a normal range.
              There is no concern really about overshoot. And we’ve demonstrated with our
25            Palynziq that you can cause hypophenylalaninemia without significant symptoms.
              So the ideas is, load them up as much as you can get the fee down to as normal as
26            you can and allow diet to be normal. And that should be the registration package.

27            81.        On October 6, 2020, the Company announced it had dosed the first participant in

28 its Phase 1/2 trial evaluating BMN 307:

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                      - 29 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 31 of 62




 1                   The study is assessing the safety, efficacy, and tolerability of a single
              intravenous administration of BMN 307. It consists of a dose-escalation phase,
 2            followed by a cohort expansion phase once an initial efficacious dose has been
              demonstrated.
 3
              82.        Defendants’ statements on August 4, 2020, August 13, 2020, and October 6, 2020
 4
     (¶¶79-81), and identical statements made throughout the Class Period regarding BMN 307, were
 5
     materially misleading when made and omitted to disclose material facts necessary to not make the
 6
     statements made misleading. Defendants knew or recklessly disregarded, but failed to disclose
 7
     until the end of the Class Period, the following:
 8
                         (a)    Contrary to Defendants’ statements in ¶81 about BMN 307’s clinical trials
 9
     assessing “safety, efficacy, and tolerability,” Defendants failed to disclose that, as admitted
10
     beginning on September 5, 2021 and further disclosed thereafter (¶¶12, 14-15, 106, 109-110, 112-
11
     120), they had observed liver tumors at 52 weeks in a pre-clinical study in 85% of mice dosed at
12
     the 2e14 Vg/kg level;
13
                         (b)    Having acknowledged on August 1, 2019 (¶60) and August 13, 2020 (¶80)
14
     that they could not “really know what the effective dose in humans is until we get to human clinical
15
     trials” because “first goal [of the clinical trials] is to find the dose,” “you can only find that out
16
     when you go into human[ clinical trials],” and “we may have to go to a higher dose as well,”
17
     Defendants omitted to disclose, and otherwise had no basis to represent that the pre-clinical dosing
18
     had “been effective preclinically” or discuss “dosing” and “dose escalation” of the BMN 307
19
     clinical trials without disclosing that they had observed tumors at 52 weeks in 6 of 7 mice at higher
20
     doses of BMN 307 (¶¶12, 14-15, 106, 109-110, 112-120); and
21
                         (c)    While Defendants discussed BioMarin’s PKU franchise and expressed
22
     “excite[ment] about the prospect of BMN 307 as it represents the potential third PKU treatment
23
     option in our PKU franchise and a second gene therapy development program,” (¶79)
24
     Defendants failed to disclose that they had observed liver tumors in a pre-clinical study of BMN
25
     307 (¶¶12, 14-15, 106, 109-110, 112-120), BioMarin’s next generation gene therapy and next step
26
     in the Company’s “pills to proteins to gene therapy” strategy.
27

28

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                        - 30 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 32 of 62




 1            83.        Defendants’ statements in August and October 2020, which were false and

 2 misleading when made, had a direct effect on BioMarin’s stock price, which continued to trade at

 3 artificially inflated levels as a result of Defendants’ material misstatements and omissions.

 4            84.        On October 2, 2020, the Company announced that the FDA has granted Fast Track

 5 designation to BMN 307, an investigational gene therapy for the treatment of individuals with

 6 PKU. “We are looking forward to working closely with the FDA, as well as other health agencies,

 7 to evaluate the safety and efficacy of this promising investigational gene therapy as we continue

 8 our unwavering 15-year commitment to advance the standard of care for people with PKU.”

 9            85.        On November 5, 2020, BioMarin released its business and financial results for 3Q

10 2020. The Company’s press release issued that same day provided an update on BMN 307:

11            Key Program Highlights
12            •          BMN 307 gene therapy product candidate for phenylketonuria (PKU):
                         On September 24, 2020, the Company announced that it began dosing
13                       participants in PHEARLESS, the Phase 1/2 study of BMN 307. Both the
                         FDA and EMA granted BMN 307 Orphan Drug Status. Additionally, the
14
                         FDA has granted Fast Track status to BMN 307. Product for use in the
15                       Phase 1/2 study was made at commercial scale from BioMarin’s award-
                         winning gene therapy manufacturing facility.
16
              86.        The Company’s Form 10Q for 3Q 2020, filed that same day, provided an additional
17
     update and summary on BMN 307 and highlighted that “[i]n September 2020, we announced that
18
     we began dosing participants in PHEARLESS, the Phase 1/2 study of BMN 307 our gene therapy
19
     candidate for PKU.”
20
              87.        On November 17, 2020, at a Stifel Virtual Healthcare Conference, Fuchs addressed
21
     investors and analysts and discussed BMN 307. Without refuting or correcting the moderator’s
22
     statement that the “PKU preclinical data in the ENU2 mouse, it looks awesome” Fuchs addressed
23
     comparisons of BMN 307 with Homology’s competing PKU gene therapy product:
24
                      Dose too low [for Homology], need more. Got to get to a much more
25            effective level of fee reduction for diet liberalization to be even plausible or
              meaningful. And it’s – I’m a little puzzled by the doses that they appear to select
26            appear to be doses that are lower than the dose that was incompletely effective. So
              that’s an interesting strategy, certainly going to favor safety. Although even that
27            wasn’t crystal clear from the lower dose.
28

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                      - 31 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 33 of 62




 1                    So I’m a little confused by the game plan there. I think for us, normal fee,
              normal diet is kind of the coin of the realm because we can get more than half of
 2            the population down in normal fees with liberalized IO with Palynziq. So if you
              want gene therapy and inherent uncertainties of gene therapy and the prophylactic
 3            steroids, you’re going to have to do better than the current standard of care. So I
              was struck by how marginal their data were.
 4
                     Now maybe they can’t make more or maybe they’re concerned that more is
 5            going to be toxic, and we’ll just have to see where we get to in terms of total dose
              for ROCTAVIAN. I mean for 307, the good news, we have a lot of capsid
 6            experience. So in so far as the big safety problems that people have been
              observing are pretty much capsid-related initially. We feel pretty good about that.
 7            Now if we have to go to a higher dose, that will be a new zone for us.

 8            88.        On November 18, 2020, at a Jefferies Virtual London Healthcare Conference,

 9 Bienaimé address investors and analysts about BMN 307, stating:

10            BMN 307 gene therapy for PKU is in the clinic. We have already treated 2 patients
              with the goal of achieving normalized Phe levels as we did in PKU mice.
11
              89.        Defendants’ statements on October 2, 2020, November 5, 2020, November 17,
12
     2020, and November 18, 2020 (¶¶84-87), and identical statements made throughout the Class
13
     Period regarding BMN 307, were materially misleading when made and omitted to disclose
14
     material facts necessary to not make the statements made misleading. Defendants knew or
15
     recklessly disregarded, but failed to disclose until the end of the Class Period, the following:
16
                         (a)   Contrary to Defendants’ adoption in ¶87 of the moderator’s statement that
17
     “PKU preclinical data in the ENU2 mouse, it looks awesome,” as Defendants admitted beginning
18
     on September 5, 2021 and further disclosed thereafter (¶¶12, 14-15, 106, 109-110, 112-120),
19
     Defendants observed liver tumors in a pre-clinical study at 52 weeks in 85% of mice dosed at the
20
     2e14 Vg/kg level to test BMN 307’s durability;
21
                         (b)   Contrary to Defendants’ statements in ¶84 concerning using the clinical
22
     trials to “evaluate the safety and efficacy of this promising investigational gene therapy,”
23
     Defendants omitted that, as admitted at the end of the Class Period (¶¶12, 14-15, 106, 109-110,
24
     112-120), they had observed liver tumors at 52 weeks in a pre-clinical study in 85% of mice dosed
25
     at the 2e14 Vg/kg level;
26
                         (c)   Despite Defendants’ comparison between the patients dosed in clinical
27
     trials and “the goal of achieving normalized Phe levels as we did in [pre-clinical] PKU mice”
28

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                         - 32 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 34 of 62




 1 (¶88), Defendants had observed liver tumors in a pre-clinical durability study, when according to

 2 Defendants pre-clinical studies were completed before the start of the Class Period in the first half

 3 of 2019 (¶¶12, 14-15, 106, 109-110, 112-120);

 4                       (d)    Having acknowledged on August 1, 2019 (¶60) and August 13, 2020 (¶80)

 5 that they could not know what the correct human dose would be “until we get to human clinical

 6 trials” because “first goal [of the clinical trials] is to find the dose,” “you can only find that out

 7 when you go into human[ clinical trials],” and “we may have to go to a higher dose as well,”

 8 Defendants omitted to disclose, and otherwise had no basis to discuss “dosing participants” of the

 9 BMN 307 clinical trials without disclosing that they had observed tumors at 52 weeks in 6 of 7

10 mice at higher doses of BMN 307 (¶¶12, 14-15, 106, 109-110, 112-120); and

11                       (e)    While Defendants discussed BioMarin’s PKU franchise and compared

12 BMN 307 to Homology’s competing gene therapy, addressing “big safety problems that people

13 have been observing” in those competing gene therapy products (¶87), Defendants failed to

14 disclose that they had observed tumors in a pre-clinical study of BMN 307 (¶¶12, 14-15, 106, 109-

15 110, 112-120), BioMarin’s next generation gene therapy and next step in the Company’s “pills to

16 proteins to gene therapy” strategy.

17            90.        Defendants’ statements in October and November 2020 (¶¶84-88), which were

18 false and misleading when made, had a direct effect on BioMarin’s stock price, which continued
19 to trade at artificially inflated levels as a result of Defendants’ material misstatements and

20 omissions.

21            91.        On February 25, 2021, BioMarin announced business and financial results for its

22 fourth quarter ended December 31, 2020. The Company’s press release was issued on February

23 25, 2021, announcing that the “Company Dose-escalates in PHEarless.”

24            92.        The press release further described “Key Program Highlights,” including as to

25 BMN 307:

26            •          BMN 307 gene therapy product candidate for PKU: The Company
                         announced that it plans to dose escalate in PHEarless, the Phase 1/2 study
27                       of BMN 307 based on encouraging Phe lowering and safety signals
                         observed in study participants who were treated with the lowest dose. Both
28

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                       - 33 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 35 of 62




 1                       the FDA and EMA granted BMN 307 Orphan Drug Status. Additionally,
                         the FDA has granted Fast Track status to BMN 307. Product for use in the
 2                       Phase 1/2 study was made at commercial scale from BioMarin’s award-
                         winning gene therapy manufacturing facility.
 3

 4            93.        On February 25, 2021, BioMarin hosted a conference call with investors and

 5 analysts to discuss the Company’s fourth quarter and full year 2020 business and financial results.

 6 Among others, defendants Bienaimé and Fuchs participated in the investor conference call, during

 7 which Bienaimé discussed BMN 307:

 8            Starting with BMN 307 gene therapy for PKU, we are pleased to share that we are
              moving to the next higher dose in our Phase I/II studies, advancing the third
 9            potential treatment modality for our PKU franchise. We are encouraged by the
              Phe lowering and safety results observed in the first 2e13 dose cohorts in our Phase
10            I/II study, and we are now ready to move the next dose of 2e13, which is similar to
              the ROCTAVIAN dose. Based on this early data from the 2e13 cohort and our
11            prior steep dose response experience with ROCTAVIAN, we are optimistic that the
              6e13 dose will be our optimal dose. We will share the next update on the BMN
12            307 from the dose confirmation phase of this study once we have selected the dose
              for registration-enabling study.
13
              94.        During the SVB Leerink Global Healthcare Conference held with investors and
14
     analysts on February 26, 2021, defendant Bienaimé commented on the BMN 307’s human Phase
15
     1/2 study, explaining:
16
                     Concurrently, significant progress is being made on the next generation of
17            potential commercial products, 307 PKU gene therapy. Phase II is moving to a
              higher dose based on strong efficacy and safety signals at the low dose.
18
              95.        On March 29, 2021, at a JPMorgan NAPA Valley Forum, Bienaimé addressed
19
     investors and analysts and discussed increasing the dose of BMN 307 in human clinical trials:
20
                     Finally, in our earlier stage pipeline, we have 5 programs moving forward,
21            including BMN 307, the gene therapy product for PKU. And I will say that based
              on encouraging Phe lowering and safety observed in the Phase I/II study with
22            BMN 307 with a low dose 2e13 vg/kg, we are moving to the next higher dose at
              60^13, which is the ROCTAVIAN dose in the Phase III trial.
23
              96.        Defendants’ statements on February 25, 2021, February 26, 2021, and March 29,
24
     2021 (¶¶91-95), and identical statements made throughout the Class Period regarding BMN 307,
25
     were materially misleading when made and omitted to disclose material facts necessary to not
26
     make the statements made misleading. Defendants knew or recklessly disregarded, but failed to
27
     disclose until the end of the Class Period, the following:
28

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                      - 34 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 36 of 62




 1                       (a)   Contrary to Defendants’ assurances in ¶¶92, 95 that there were

 2 “encouraging Phe lowering and safety signals observed in study participants who were treated

 3 with the lowest dose,” as Defendants admitted beginning on September 5, 2021 (¶¶12, 14-15, 106,

 4 109-110, 112-120), they had observed liver tumors at 52 weeks in a pre-clinical study in which

 5 85% of mice dosed at the 2e14 Vg/kg level;

 6                       (b)   Contrary to Defendants’ discussion concerning the results of pre-clinical

 7 trials and that the “[t]reatment of mice in a validated PKU mouse model with BMN 307 showed a

 8 lifetime normalization of Phe and normalized neurotransmitter levels” (¶92), Defendants failed to

 9 disclose that, as admitted beginning on September 5, 2021 (¶¶12, 14-15, 106, 109-110, 112-120),

10 they had observed liver tumors in a pre-clinical mouse study – which according to Defendants

11 were completed before the start of the Class Period in the first half of 2019 (¶¶62-63);

12                       (c)   Having acknowledged on August 1, 2019 (¶60) and August 13, 2020 (¶80)

13 that they could not know what the correct human dose would be “until we get to human clinical

14 trials” because “first goal [of the clinical trials] is to find the dose,” “you can only find that out

15 when you go into human[ clinical trials],” and “we may have to go to a higher dose as well,”

16 Defendants omitted to disclose, and otherwise had no basis to update investors concerning the

17 “Company Dose-escalates in PHEarless” (¶91), describe their “plans to dose escalate,” (¶¶91-

18 93) or discuss various observations in the dose escalation study and readiness “to move the next
19 higher dose” (¶¶94-95) in BMN 307’s human clinical trials without disclosing that they had

20 observed tumors at 52 weeks in 6 of 7 mice at higher doses of BMN 307 (¶¶12, 14-15, 106, 109-

21 110, 112-120); and

22                       (d)   While Defendants discussed BioMarin’s PKU franchise and the

23 “significant progress [] being made on the next generation of potential commercial products, 307

24 PKU gene therapy,” (¶94) Defendants failed to disclose that they had observed tumors in a pre-

25 clinical study of BMN 307 (¶¶12, 14-15, 106, 109-110, 112-120), BioMarin’s next generation gene

26 therapy and next step in the Company’s “pills to proteins to gene therapy” strategy.

27

28

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                      - 35 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 37 of 62




 1            97.        Defendants’ statements in February and March 2021 (¶¶91-95), which were false

 2 and misleading when made, had a direct effect on BioMarin’s stock price, which continued to trade

 3 at artificially inflated levels as a result of Defendants’ material misstatements and omissions.

 4            98.        On April 29, 2021, BioMarin announced 1Q 2021 business and financial results.

 5 Concerning BMN 307, the Company’s press release provided that the “Dose escalation in

 6 PHEarless, the Phase 1/2 study of BMN 307 continues based on encouraging Phe lowering and

 7 safety profile observed in study participants who were treated with the lowest dose.”

 8            99.        And the Company’s Form 10Q for the first quarter of 2021 provided a similar

 9 summary of the status of the BMN 307 clinical trials:

10            •          BMN 307 - In February 2021, we announced that we had begun to dose
                         escalate participants in PHEarless, the Phase 1/2 study of BMN 307 our
11                       gene therapy candidate for PKU based on encouraging Phe lowering and
                         safety signals observed in study participants who were treated with the
12
                         lowest dose. Both the FDA and EMA have granted BMN 307 Orphan Drug
13                       Status. Additionally, the FDA has granted fast track designation to BMN
                         307. All subjects participating in the PHEarless study are receiving product
14                       made at commercial scale from our gene therapy manufacturing facility.
15            100.       On April 29, 2021, in connection with BioMarin’s first quarter 2021 financial and
16 business results, defendants hosted a conference call with investors and analysts. During the

17 investor call, which was attended by, among others, defendants Bienaimé and Fuchs, Fuchs stated:

18                    Briefly, on the earlier stage pipeline, dose escalation has commenced with
              BMN 307, our investigational gene therapy for phenylketonuria. And the program
19            continues based on the encouraging fee lowering observed with the lower dose
              that’s been tested so far.
20
              101.       On July 28, 2021, BioMarin announced business and financial results for second
21
     quarter 2021. The press release announcing the results provided an update on BMN 307:
22
              •          BMN 307: Dose escalation in PHEarless, the Phase 1/2 study of BMN
23                       307 continues based on encouraging Phe lowering and safety profile
                         observed in study participants who were treated with the lowest dose.
24
              102.       The Company’s Form 10Q for the second quarter 2021 also provided an update on
25
     BMN 307 and the dose escalation in the human clinical trials:
26
              •          BMN 307 - In February 2021, we announced that we had begun to dose
27                       escalate participants in PHEarless, the Phase 1/2 study of BMN 307 our
28                       gene therapy candidate for PKU based on encouraging Phe lowering and

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                         - 36 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 38 of 62




 1                       safety signals observed in study participants who were treated with the
                         lowest dose. . . .
 2
              103.       Defendants’ statements on April 29, 2021 and July 28, 2021 (¶¶98-102), and
 3
     identical statements made throughout the Class Period regarding BMN 307, were materially
 4
     misleading when made and omitted to disclose material facts necessary to not make the statements
 5
     made misleading. Defendants knew or recklessly disregarded, but failed to disclose until the end
 6
     of the Class Period, the following:
 7
                         (a)    Contrary to Defendants’ assurances in ¶¶100, 102 that they were observing
 8
     “encouraging Phe lowering and safety signals observed in study participants who were treated
 9
     with the lowest dose,” as Defendants admitted beginning on September 5, 2021 (¶¶12, 14-15, 106,
10
     109-110, 112-120), they had observed liver tumors at 52 weeks in a pre-clinical study in 85% of
11
     mice dosed at the 2e14 Vg/kg level; and
12
                         (b)    Having acknowledged on August 1, 2019 (¶60) and August 13, 2020 (¶80)
13
     that they could not know what the correct human dose would be “until we get to human clinical
14
     trials” because “first goal [of the clinical trials] is to find the dose,” “you can only find that out
15
     when you go into human[ clinical trials],” and “we may have to go to a higher dose as well,”
16
     Defendants omitted to disclose, and otherwise had no basis to update investors concerning the
17
     “dose escalation” and that Defendants “had begun to dose escalate participants” in BMN 307’s
18
     human clinical trials (¶¶98-102) without disclosing that they had observed tumors at 52 weeks in
19
     6 of 7 mice at higher doses of BMN 307 (¶¶12, 14-15, 106, 109-110, 112-120).
20
              104.       Defendants’ statements in April and July 2021 (¶¶98-102), which were false and
21
     misleading when made, had a direct effect on BioMarin’s stock price, which continued to trade at
22
     artificially inflated levels as a result of Defendants’ material misstatements and omissions.
23
               DEFENDANTS’ FRAUDULENT CONDUCT BEGINS TO BE REVEALED
24
   BioMarin Discloses Liver Tumors Observed in Pre-Clinical Studies and the FDA Places
25 Clinical Hold on Trial Due to Serious Safety Concerns

26            105.       On September 2 and 3, 2021, in the wake of patient deaths and safety issues linked
27 to experimental gene therapies involving AAV deliver, the FDA’s Cellular, Tissue and Gene

28 Therapies Advisory Committee held a conference to discuss its concerns and the need for

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                        - 37 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 39 of 62




 1 transparency on safety issues in preclinical studies. The discussion topics included oncogenicity

 2 risks due to vector genome integration and safety issues identified during preclinical and/or clinical

 3 evaluation.

 4            106.       Two days later, on Sunday, September 5, 2021, BioMarin announced that the FDA

 5 placed a clinical hold on phase I/II testing of its BMN 307 gene therapy candidate after pre-clinical

 6 data showed mice treated with the highest dose of BMN 307 had developed liver tumors after 52

 7 weeks:

 8                    The company carried out this pre-clinical study to understand the
              durability of BMN 307 activity in mice bearing two germline mutations, which
 9            may predispose the mice to the development of malignancy. One mutation
              eliminated the PAH gene that’s missing in PKU and the second rendered the
10            animals immunodeficient. Of 63 animals treated, six of seven animals
              administered BMN 307 at the highest dose group (2e14 Vg/kg) had tumors on
11            liver necropsy 52 weeks after dosing with evidence for integration of portions of
              AAV vector into the genome. No lesions were observed in any mice at 24 weeks.
12            Five of these animals had adenomas and one had a hepatocellular carcinoma
              (HCC).
13
              107.       On September 7, 2021, the next market trading day, shares of BioMarin stock
14
     plummeted as the market reacted to the disclosure of the tumors observed in the pre-clinical
15
     studies, falling $7.14 per share, or over 8.4%, from the previous trading day’s close.
16
              108.       However, because investors still did not know the full truth about BMN 307, and
17
     the liver tumors observed in pre-clinical studies, including that the clinical hold would last several
18
     quarters and the FDA would require additional data from non-clinical trials, the price of BioMarin
19
     stock remained artificially inflated.
20
              109.       At the September 10, 2021, Morgan Stanley Global Healthcare Conference with
21
     analysts and investors, Bienaimé and Cardon addressed BMN 307, the clinical hold, and the
22
     observed liver tumors. Bienaimé revealed:
23
                      So turning on to the news earlier this week, BMN 307, our investigational
24            gene therapy for PKU, was placed on a clinical hold based on interim safety
              findings from preclinical rodent trial. It was a non-GLP pharmacology study in
25            immunodeficient mice. While we do not believe that these critical findings with
              BMN 307 are suggesting a significant risk to humans, we are being prudent and
26            investigating those findings thoroughly. These findings were specific to BMN 307
              to this mouse model, and we do not believe that this suggests a risk to any of our
27            other gene therapy programs. We are working with the FDA and other health
              authorities, and we will communicate next steps when available. So we will keep
28            you posted as we learn more.

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                        - 38 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 40 of 62




 1            110.       And Defendant Cardon discussed the liver tumors observed in the pre-clinical

 2 “pharmacology study of durability”:

 3                    . . . What we found after 52 weeks of taking down the animals is that 6 of
              the 7 animals administered in the highest dose of 2e14 had tumors on liver
 4            necropsy. Five of those had adenomas, 1 had hepatocellular carcinoma. And
              vector integration associated with those findings was observed in that high dose,
 5            and only in that high dose.

 6                    Now all of these findings – all of our preliminary findings, all of these are
              studies are on – the study is ongoing and our analyses are ongoing. They’ve all
 7            been observed. All of these effects have been observed in other mice studies
              previously in other AAV trials. But we promptly took steps to mitigate the risk
 8            and share findings with the global health authorities as soon as we saw them. And
              they subsequently put us on clinical hold for our PHEARLESS PKU program,
 9            which has dosed 4 patients to date. We – there are many reasons to think that these
              preclinical findings are not suggestive of a significant risk to humans, but we’re
10            being really prudent and investigating these findings thoroughly.

11            111.       Just weeks after Defendants disclosed that they had observed liver tumors in a pre-

12 clinical durability study in mice, and in the wake of the clinical hold, defendant Cardon, who had

13 introduced investors to BMN 307 as the “main event” at the 2018 R&D Day and had assured

14 investors that “[t]he mouse data looked great as far out as the eye could see in terms of

15 durability” (¶¶52,63), disappeared from the Company.

16            112.       Bienaimé addressed investors and analyst at the JPMorgan US All Stars

17 Conference, held virtually on September 22, 2021. During the investor conference, Bienaimé

18 discussed the pre-clinical durability study and attempted to downplay the clinical hold and the
19 significance of the liver tumors, focusing on the high dosage that led to the tumors:

20                    So these are the facts. And there have been many clinical holds by the FDA
              in many indications and modalities, some of them in gene therapy, and most of
21            them have been removed. It's too early to tell to give you a time line on if and when
              the hold can be removed. We've got to meet for the first time or talk to the FDA in
22            October about this. And also, what's interesting, though, is that -- by the way, the
              finding was also on a dose is much higher. It was [2e14], which is much higher
23            than the dose that we treat our patients so far. The highest dose we used was 6e13.
              And we are -- with what's kind of ironic is that we are starting to see some clear
24            signs of efficacy at 6e13 in PKU, which that is hopefully we will be going to be
              able to proceed in the future.
25
              113.       On October 27, 2021, following Cardon’s abrupt departure from the Company,
26
     BioMarin announced its third quarter 2021 business and financial results. The Company’s press
27
     release address the clinical hold:
28

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                         - 39 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 41 of 62




 1            Earlier-stage Development Portfolio (BMN 307, BMN 255, BMN 331, BMN 351,
              DiNA-001, Allen Institute Collaboration, Deep Genomics)
 2
              •          Details for BioMarin’s virtual R&D Day on November 30, 2021 will be
 3                       made available over the coming weeks. The Company plans to share an in-
                         depth review of multiple early-stage pipeline programs showcasing next
 4                       potential IND candidates.
 5
              •          BMN 307 gene therapy product candidate for PKU: The FDA placed a
 6                       clinical hold on PHEarless, the Phase 1/2 study evaluating BMN 307, an
                         investigational AAV5-phenylalanine hydroxylase (PAH) gene therapy, in
 7                       adults with phenylketonuria (PKU). The hold was based on pre-clinical
                         study findings from a model designed to understand the durability of
 8                       BMN 307 activity in mice bearing two germline mutations, one rendering
 9                       the mice immunodeficient. The clinical significance of these findings is
                         being evaluated to assure safe and appropriate use of BMN 307. To date,
10                       findings appear specific to mice and have no known translatability to
                         humans or other gene therapy vectors. BioMarin is working with health
11                       authorities to address the clinical hold and resume study investigations, as
                         appropriate.
12

13            114.       And the Company’s Form 10Q for the third quarter of 2021 provided similar

14 information on the clinical hold and BMN 307:

15            Continued Emphasis on Research and Development

16                                                *       *       *

17            •          BMN 307 - our gene therapy product candidate for PKU. In September
                         2021, the FDA placed a clinical hold on PHEarless, our Phase 1/2 study
18                       evaluating BMN 307, an investigational AAV5-phenylalanine hydroxylase
                         gene therapy, in adults with PKU. The hold was based on pre-clinical study
19                       findings from a model designed to understand the durability of BMN 307
                         activity in mice bearing two germline mutations, one rendering the mice
20                       immunodeficient. The clinical significance of these findings is being
21                       evaluated to assure safe and appropriate use of BMN 307. To date, findings
                         appear specific to mice and have no known translatability to humans or
22                       other gene therapy vectors. We are working with health authorities to
                         address the clinical hold and resume study investigations, as appropriate.
23
              115.       And the Credit Suisse Healthcare Conference held for BioMarin investors and
24
     analysts on November 10, 2021, Bienaimé downplayed the seriousness of the clinical hold:
25
                      . . . We believe the findings that we over observed with the 307 PKU gene
26            therapy were inherent to the mouse model that was used. They were double
              knockout, mice that have no immune system. Actually, we’ve done the experiment
27            with also high dose of ROCTAVIAN with the – or a construct that is extremely
              similar to ROCTAVIAN in terms of the vector and the promoter. And at 1 year,
28            we had no issue here with the mice.

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                         - 40 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 42 of 62




 1                  At the same time, what was observed with the PKU of mice here is not
              something that is new. And the issue of carcinogenicity, rodents has been
 2            documented and talked about for many, many years in the AAV field.

 3                    And actually, this was evidenced when the FDA had their Advisory
              Committee, where, I think, the consensus was that any of the findings in mice have
 4            no translatability to humans. Actually, even, I think, one of the experts say that if
              you let the mice live long enough, they all will develop cancer because they have
 5            longer telomeres than the humans, so I’m getting into the technical details.

 6            116.       On November 30, 2021, BioMarin hosted a virtual R&D Day with investors and

 7 analysts. Among others, defendants Bienaimé and Fuchs participated in the investor conference,

 8 during which Defendants addressed the FDA’s clinical hold, continuing to downplay the

 9 seriousness of tumors and the significance of the hold, and again expressing that they “hope to be

10 off clinical hold by the end of the First Quarter”:

11            Kevin Eggan, Group VP & Head of Research & Early Development:

12                    . . . So we’ve reviewed the information request from the FDA and have
              prepared our responses. We intend to submit them at the beginning of the year, and
13            we hope to be off clinical hold by the end of the First Quarter. Now of course
              we’re still awaiting our discussion and engagement with the FDA. So we remain
14            uncertain about precisely what will be required. But they have not, at this time,
              requested further experiments. Now one of the reasons why I have increasing
15            confidence that we will come off of hold is that our careful quantitative analysis of
              the tumor samples indicates that, in most cases, only a few tumor cells, a few
16            percent of tumor cells in each one of those samples actually shows evidence for
              integration.
17
              117.       At a January 6, 2022 Goldman Sachs Healthcare CEOs Unscripted Conference: A
18
     View from the Top, Bienaimé address investors and analysts, stating:
19
                      . . . We also are still very excited about PKU gene therapy, BMN 307. As
20            you know, we had this advance in critical data in some rodents. So the clinical
              trial was put on clinical hold. We believe – we’re confident that actually – we
21            hope and we’re confident that we’ll – the clinical hold will be lifted this quarter
              because we have no evidence to suggest that the [critical] signal that we saw in
22            rodents, and that actually all those have seen in rodents, will translate into
              humans.
23
                     And we are about to push the button to send our official response to the
24            FDA, but – and the FDA has not required any additional studies. So we’re
              confident that – we are optimistic that the clinical hold will be lifted.
25
              118.       Finally, on February 17, 2022, Defendants issued a press release titled BioMarin
26
     Provides Updates on Progress in Gene Therapy Programs, in which the Company revealed that
27
     the FDA would not be lifting the clinical hold on BMN 307, and had instead made “additional
28

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                       - 41 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 43 of 62




 1 requests . . . for information needed to resolve the clinical hold of the PHEARLESS Phase 1/2

 2 study of BMN 307.” This additional information includes “data from additional non-clinical

 3 studies to assess the theoretical oncogenic risk to human study participants, which is expected to

 4 take several quarters.”

 5            119.       On February 23, 2022, BioMarin announced its fourth quarter 2021 business and

 6 financial results. In the press release announcing the results, and the subsequent conference call

 7 with investors and analysts, Defendants addressed the ongoing clinical hold, and the FDA’s request

 8 for additional data from non-clinical studies:

 9            •          BMN 307 gene therapy product candidate for PKU: In September 2021, the
                         FDA placed a clinical hold on PHEarless, the Phase 1/2 study evaluating
10                       BMN 307, an investigational AAV5-phenylalanine hydroxylase (PAH)
                         gene therapy, in adults with phenylketonuria (PKU). The hold was based
11                       on pre-clinical study findings from a model designed to understand the
                         durability of BMN 307 activity in mice bearing two germline mutations,
12                       one rendering the mice immunodeficient. In February 2022, the FDA
                         requested data from additional non-clinical studies to assess theoretical
13                       oncogenic risk to human study participants, which is expected to take
                         several quarters. The Company will communicate next steps for the
14                       program when available.

15            120.       That same day, Bienaimé, Fuchs, and other BioMarin executives held a conference

16 call with investors and analysts to discuss the Company’s fourth quarter 2021 results, Fuchs

17 responded to concern that the FDA’s BMN 307 clinical hold might have application to

18 “ROCTAVIAN safety data,” conceding:
19                    Very complicated question. Let’s see if I can help there. As regards to the
              ROCTAVIAN preclinical data package and its similarity to what the FDA is asking
20            for from 307, since we just got the clinical hold letter from the FDA on 307, and
              they’ve requested additional studies, but they haven’t specified additional studies,
21            and as I mentioned, we’re going to be working with them to try to understand what
              those additional studies will likely be, it would be impossible to compare and
22            contrast what’s been asked for 307 with what’s available already for 270.

23            121.       In response to the news on February 17, 2022, issued after the market closed, that

24 the FDA was not lifting the clinical hold on BMN 307 and was requiring additional data from non-

25 clinical studies which was now “expected to take several quarters,” the price of BioMarin shares

26 fell on February 18, 2022, dropping 6.0%, ($5.44 per share) on heavy volume, as investors digested

27 the magnitude of the extended FDA hold and additional non-clinical data requirements. Then,

28 days later, in response to the Company’s quarterly filing and conference call with investors and

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                        - 42 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 44 of 62




 1 analysts after the market closed on February 23, 2022, further revealing that the clinical hold would

 2 not be lifted and that the FDA was requiring additional data which was “expected to take several

 3 quarters,” the price of BioMarin shares fell further on February 24, 2022, dropping an additional

 4 6.27% ($5.17 per share) on extremely heavy volume of over 4,000,000 shares traded, as investors

 5 digested the scope and magnitude of the adverse news.

 6                         ADDITIONAL INDICIA OF DEFENDANTS’ SCIENTER
 7            122.       As alleged herein, Defendants acted with scienter in that Defendants knew, or

 8 recklessly disregarded, that the public documents and statements issued or disseminated in the

 9 name of the Company, or their own name, were materially false and misleading; knew or recklessly

10 disregarded that such statements or documents would be issued or disseminated to the investing

11 public; and knowingly and substantially participated or acquiesced in the issuance of such

12 statements or documents as primary violations of the federal securities laws.

13            123.       The Fraud Alleged Herein Relates To BioMarin’s Core Business and Its

14 Important PKU Franchise Which Was Then Under Competitive Pressures. That Defendants’

15 material misstatements and omissions concerned events relating to one of BioMarin’s most

16 significant franchises and product lines supports a strong inference of scienter, particularly as

17 BioMarin was a relatively small company with management focused on warding off competition

18 to its important PKU franchise as Kuvan was coming off of protection and would soon be facing
19 generic competition. As of the start of the Class Period, BioMarin’s portfolio included only six

20 FDA-approved drugs and three drugs in development, including BMN 307. Defendants confirmed

21 that BMN 307 had completed pre-clinical mouse and non-human primate studies in the first half

22 of 2019 (¶¶7, 53, 57, 62-63) and had received approval to begin Phase I/II human clinical trials in

23 early 2020. Indeed, Defendants’ SEC filings documented the transition from “Preclinical” to

24 “Clinical Phase I/II” in 1Q 2020. ¶75. And at the beginning of the Class Period and throughout

25 the period, other companies were also well underway towards developing competing PKU gene

26 therapies, including Homology Medicines, Inc., which, by May 2019, had also completed

27 preclinical trials and had been granted FDA clearance of their own IND.

28

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                     - 43 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 45 of 62




 1            124.       Defendants held high-ranking positions, as described in ¶¶23-25, and made

 2 numerous Class Period statements regarding BMN 307’s pre-clinical trials, including as to BMN

 3 307’s pre-clinical durability studies, doing protocols, the 80-week lifetime pre-clinical studies, and

 4 BMN 307’s safety and efficacy. ¶¶62-65, 68-72, 75-76, 79-81, 84-88, 91-95, 98-102, 106, 109-

 5 110. That Defendants spoke of BMN 307 so frequently demonstrates the core nature of the

 6 Company’s BMN 307 gene therapy product, and the individual defendants’ involvement in and

 7 knowledge of the same. Defendants repeatedly assured investors about BMN 307’s promising

 8 pre-clinical durability and efficacy studies and data, adopting statements such as “PKU preclinical

 9 data in the ENU2 mouse, it looks awesome,” (¶87) and assuring investors that “[t]he mouse data

10 looked great as far out as the eye could see in terms of durability,” (¶63) “we’ve got our safety.

11 Our toxicology is done. Our efficacy is completed.” (¶62) Given the core nature of BioMarin’s

12 gene therapy development pipeline, specifically BMN 307, underlying the fraud alleged herein,

13 and Defendants’ frequent assurance of their personal involvement in and knowledge of that

14 development, knowledge of the fraud may be imputed to Defendants. Indeed, in order to speak so

15 knowledgeably regarding BMN 307 and its pre-clinical studies and data, defendant Bienaimé,

16 Fuchs, and Cardon must have educated themselves regarding the pre-clinical studies and data by

17 reading research reports, receiving updates and briefings on the status and progress of such studies,

18 and by performing their own due diligence.
19            125.       Cardon, the face of BioMarin’s PKU gene therapy development, had introduced

20 investors to BMN 307 as the “main event” at the 2018 R&D Day and was the executive who was

21 to use BMN 307 to drive the Company’s “pill to proteins to gene therapy” strategy (¶52). From

22 the beginning, Cardon held himself out as knowledgeable about BMN 307’s pre-clinical studies

23 and development timeline: “there’s a number of studies, there’s hundreds of mice involved in

24 various studies . . . we took on a lifetime study of mice, so the full longevity of mice, 80 weeks it

25 is in this particular model, and asked what the effect of this particular treatment is on those.”

26 (¶¶6, 52). In addition, Cardon confirmed on November 14, 2019, that having completed pre-

27 clinical studies and with an IND filing “imminent,” “we’ve got our safety. Our toxicology is done.

28 Our efficacy is completed.” (¶62). Moreover, defendant Cardon assured investors that with respect

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                      - 44 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 46 of 62




 1 to the pre-clinical study that led to the observed liver tumors, “The mouse data looked great as

 2 far out as the eye could see in terms of durability.” (¶63). And just a few weeks after BioMarin

 3 disclosed the truth about BMN 307’s preclinical studies and data and disclose the observed liver

 4 tumors in the pre-clinical mouse durability study, defendant Cardon disappeared from the

 5 Company.

 6            126.       In addition, Defendants’ acknowledged during the Class Period that they were

 7 unable to and could not know the correct human dose “until we get to human clinical trials”

 8 because “you can only find that out when you go into human[ clinical trials]” and “we may have

 9 to go to a higher dose as well.” (¶¶60, 80) Having held themselves out as knowledgeable about

10 dosing protocols and their inability to identify the proper human dose until they were actually

11 dosing human clinical trial patients, Defendants’ excuse at the end of the Class Period that the

12 liver-tumor-causing dose of BMN 307 was “much higher than the dose that we treat our patients

13 so far” (¶112) is not credible and is further indicia of Defendants’ scienter. Indeed, while

14 discussing dosing and dose escalation throughout the Class Period, Defendants knew but failed to

15 disclose the observed liver tumors in a pre-clinical durability mouse trial.

16            127.       BioMarin’s business is the development and sale of pharmaceuticals and

17 therapeutics. The fraud alleged herein directly concerns BioMarin’s ability to successfully develop

18 the next phase of its “pills to proteins to gene therapy” strategy in its PKU franchise and, in turn,
19 protect a franchise that represented more than 30% of the Company’s revenue.

20            128.       Defendants Knew The Undisclosed Liver Tumors and Adverse Preclinical Study

21 Raised Serious Concerns About BMN 307’s Safety and What it Meant for Clinical Trials.

22 Defendants have long been aware of the FDA’s position and its corresponding implications for

23 clinical testing of gene therapy drugs. As noted above, the FDA has repeatedly recognized the

24 safety concerns with the development of gene therapy drugs and put in place strict safety

25 monitoring procedures to ensure that any preclinical program justifies proceeding to clinical

26 studies on humans. In guidance and presentations delivered to drug sponsors before the pre-

27 clinical studies for BMN 307 were completed, the FDA made clear that tumorigenicity safety

28 concerns were “important” in determining the safety profile of a drug and must be assessed before

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                     - 45 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 47 of 62




 1 human clinical trials could be conducted. And Defendants knew or were reckless in not knowing

 2 that in guidance and presentations delivered to drug sponsors before the pre-clinical studies for

 3 BMN 307 were completed, the FDA made clear that tumorigenicity safety concerns were

 4 “important” in determining the safety profile of a drug and must be assessed before human clinical

 5 trials could be conducted. Here, the liver tumors observed in the pre-clinical study not only meant

 6 that BMN 307’s clinical progress would be halted, but threatened to significantly delay the

 7 Company’s planned commercialization of the drug.                 Such extensive delays would render

 8 BioMarin’s PKU franchise vulnerable to further competitive pressures from new generic drugs

 9 and competing gene therapies.

10            129.       Defendants Capitalized on BioMarin’s Inflated Stock Price to Unload Millions

11 of Dollars’ Worth of BioMarin Stock. At the same time that defendants Bienaimé, Fuchs, and

12 Cardon were issuing materially misleading statements to investors, Bienaimé and Fuchs took

13 advantage of BioMarin’s inflated stock price to sell more than $48 million dollars’ worth of their

14 BioMarin holdings during the Class Period. By withholding information concerning the tumors

15 observed in pre-clinical trials and cashing out before the fraud was revealed, defendants Bienaimé

16 and Fuchs avoided substantial losses on their insider sales.

17            130.       Significantly, $19.4 million of Fuchs’ $22.8 million in insider sales proceeds was

18 purportedly pursuant to a 10b5-1 trading plan executed on March 11, 2020, after the pre-clinical
19 trials were complete and just two months after Defendants announced that the FDA had approved

20 BMN 307’s IND and that the Company was proceeding with clinical trials. As he was reaping

21 more than $22.8 million in insider sales proceeds, Fuchs knew but failed to disclose that tumors

22 had been observed in pre-clinical studies, which the Company confirmed had been completed in

23 the first half of 2019.

24            131.       Over this same period of time, and also purportedly pursuant to several 10b-5

25 trading plans entered into or amended at various times shortly before each transaction, Bienaimé

26 offloaded more than 298,000 shares of BioMarin stock at inflated prices, for proceeds of more than

27 $25.2 million. Similarly, Bienaimé’s insider sales proceeds came as he knew but failed to disclose

28 that tumors had been observed in pre-clinical studies, which the Company had confirmed had been

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                        - 46 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 48 of 62




 1 completed in the first half of 2019. And Bienaimé continued selling BioMarin shares in December

 2 2021 and January 2022 as Defendants were telling the market that, despite not yet having the

 3 FDA’s clinical hold letter, they were optimistic that the clinical hold would be lifted in the first

 4 quarter of 2022.

 5            132.       Defendants made insider trades while they delayed the release of negative news

 6 about tumors identified in the pre-clinical BMN 307 studies in order to circumvent their trading

 7 plans and offload their stock at favorable and inflated prices. These trades were highly unusual

 8 and departed from their historical trading patterns. During the Class Period, defendant Fuchs sold

 9 more than 186,600 shares of BioMarin stock, or 64% of his BioMarin holdings, for proceeds of

10 more than $22.8 million. 11 Likewise, Bienaimé sold more than 273,000 shares of BioMarin stock,

11 or 28% of his holdings, for proceeds of more than $23.2 million. 12

12            133.       Such transactions directly contravened BioMarin’s Securities Trading Policy,

13 which mandates “that our employees who possess material non-public information may not

14 disclose, or trade while in possession of, such information.” In addition, “Individuals classified as

15 ‘Designated Insiders’ (which include our NEOs) may not buy or sell [BioMarin] securities at any

16 time without prior approval, except for sales under approved Rule 10b5-1 trading plans.” 13

17            134.       Defendants’ Fraudulent Conduct Allowed Them to Retain Their Executive

18 Positions and Collect Millions in Compensation and Bonus Awards. 14 The individual defendants
19 were motivated to make false and misleading statements purely for self-preservation to preserve

20 and maintain their executive positions and personally collect millions of dollars in compensation

21 and bonuses. Indeed, as set forth in BioMarin’s 2020 Proxy Statement, dated April 14, 2020:

22                    The Compensation Committee establishes a mix of current, short-term and
              long-term incentive compensation, and cash and non-cash compensation, that it
23            believes is appropriate to achieve the goals of our executive compensation program
              and our corporate objectives as described above. Generally, the percentage of
24
     11
          Holdings calculated pursuant to Fuchs’ publicly-available July 22, 2022 SEC Form 4.
25
     12
          Holdings calculated pursuant to Bienaimé’s publicly-available January 14, 2022 SEC Form 4.
26
     13
          SEC Schedule 14A, BioMarin’s 2020 Proxy Statement.
27
     14
          Defendant Cardon’s compensation information is not a matter of public record.
28

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                     - 47 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 49 of 62




 1            compensation at risk, either in the form of annual cash incentive or equity
              compensation, is higher for more senior employees than for those with more limited
 2            responsibility, with our executive officers having the highest percentage of their
              total compensation at risk and allocated to equity compensation. We believe this is
 3            appropriate as the more senior employees have more influence over whether we
              achieve our strategic imperatives and long-term goals.
 4
              135.       As set forth in the Executive Compensation section of the Company’s 2021 proxy
 5
     statement, dated April 13, 2021, “the Compensation Committee reviews the prior year
 6
     development programs and determines an annual cash incentive payout attributable to that aspect
 7
     of our business.” And 10% of the weighted target incentive award was identified as being
 8
     attributed to “BMN 307: achieve regulatory submission milestones” for 2019 compensation and
 9
     “BMN 307: achieve patient dosing milestones” for 2020 compensation. As a result, Bienaimé
10
     achieved a maximum cash bonus of more than $2.32 million in 2019 and $1.6 million in 2020,
11
     while Fuchs achieved maximum cash bonuses of $828,000 and $535,000 in 2019 and 2020,
12
     respectively.
13
              136.       Defendants’ equity compensation was also based on a mixture of performance
14
     metrics, including a 50% allocation based on total shareholder return (i.e., stock price) and 25%
15
     for strategic corporate goals, such as product regulatory filings/approvals (i.e., BMN 307’s IND
16
     approval). In 2019 and 2020, Bienaimé and Fuchs received maximum equity awards:
17
                                          Year         Stock Awards           Option Awards
18
              Bienaimé                    2020          $11,650,975             $3,410,347
19                                        2019          $11,581,044             $3,220,218

20
              Fuchs                       2020          $4,732,826              $1,385,520
21                                        2019          $4,275,463              $1,189,277

22
              137.       There Is A Strong Inference That BioMarin Acted With The Requisite Scienter.
23
     BioMarin’s corporate liability derives from the actions of its agents. The allegations herein
24
     establish a strong inference that BioMarin, as an entity, acted with corporate scienter throughout
25
     the Class Period, as its officers, management and agents had actual knowledge of the
26
     misrepresentations and omissions of material facts set forth herein, or acted with reckless disregard
27
     for the truth, because they failed to disclose the truth about BioMarin’s PKU gene therapy,
28

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                       - 48 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 50 of 62




 1 including that pre-clinical studies for BMN 307, which Defendants represented had completed in

 2 the first half of 2019, had revealed liver tumors at 52 weeks. Taken all of the above collectively,

 3 these facts create a strong inference that BioMarin acted with the requisite scienter.

 4                                              LOSS CAUSATION
 5            138.       Lead Plaintiffs incorporate by reference the allegations set forth above. During the

 6 Class Period, Defendants publicly disseminated materially false and misleading statements and

 7 omitted material facts concerning the status and development of the Company’s PKU gene therapy

 8 product, as well as BMN 307’s clinical and pre-clinical trials.

 9            139.       The material misrepresentations and omissions included issues concerning, among

10 other things, BMN 307’s pre-clinical trials and data; BMN 307’s safety, efficacy and toxicology;

11 the dosing protocols of the human clinical trials and observed issues at various dosing levels; and

12 BMN 307’s pre-clinical durability studies and observations.

13            140.       During the Class Period, as detailed herein, Defendants schemed to deceive

14 investors and the market, and engaged in a course of conduct that artificially inflated the price of

15 BioMarin common stock and operated as a fraud or deceit on members of the Class who purchased

16 BioMarin stock by misrepresenting and omitting material information about the status and findings

17 associated with the BMN 307 and its pre-clinical studies and data . ¶¶66, 73, 77, 82, 89, 96, 103.

18            141.       When Defendants’ prior misrepresentations and omissions were disclosed or

19 otherwise revealed to the market, beginning on September 5, 2021, and further revealed on

20 February 17 and 23, 2022, BioMarin’s stock price declined significantly, as the prior inflation

21 came out of the price. As a result of their purchases of BioMarin common stock during the Class

22 Period, Plaintiffs and other members of the Class suffered economic loss, i.e., damages, under the

23 federal securities laws.

24            142.       Defendants’ false and misleading statements and omissions, identified herein at

25 ¶¶66, 73, 77, 82, 89, 96, 103, had the intended effect and caused BioMarin’s stock to trade at

26 artificially inflated levels throughout the Class Period.

27            143.       As a direct result of the disclosures on September 5, 2021, February 17, 2022, and

28 February 23, 2022, as detailed in ¶¶106, 118-120, BioMarin’s stock price suffered significant

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                          - 49 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 51 of 62




 1 declines. For example, from September 3, 2021 through the next trading on September 7, 2021,

 2 the price of BioMarin common stock traded on the NASDAQ dropped by $7.14 per share, or 8.4%.

 3            144.       And as a direct result of the additional disclosures on February 17 and February 23,

 4 2022, as detailed in ¶¶106, 118-120, BioMarin’s stock price suffered additional significant

 5 declines. Indeed, between February 17, 2022 and February 24, 2022, the price of BioMarin

 6 common stock traded on the NASDAQ dropped by $12.95 per share, or 14.3%.

 7            145.       It was entirely foreseeable that Defendants’ materially false and misleading

 8 statements and omissions discussed herein would artificially inflate the price of BioMarin’s stock.

 9 It also was foreseeable to Defendants that the revelation of the truth concerning BMN 307 and its

10 pre-clinical studies, including that Defendants had observed liver tumors in a pre-clinical mouse

11 study where 85% of “animals administered BMN 307 at the highest dose group (2e14 Vg/kg) had

12 tumors on liver necropsy 52 weeks after dosing,” and the resulting lengthy clinical hold would

13 cause the price of the Company’s stock price to fall as the artificial inflation caused by Defendants’

14 misstatements and omissions was removed. Thus, the stock price declines described above were

15 directly and proximately caused by Defendants’ materially false and misleading statements and

16 omissions.

17                                      PRESUMPTION OF RELIANCE
18            146.       Plaintiffs and the Class are entitled to a presumption of reliance pursuant to Basic

19 Inc. v. Levinson, 485 U.S. 224 (1988), and the fraud-on-the-market doctrine because, during the

20 Class Period, BioMarin stock traded in an efficient market, for the following reasons, among

21 others:

22            •          BioMarin common stock met the requirements for listing, and was listed
                         and actively traded on the NASDAQ, a highly efficient and automated
23                       market;
24
              •          As a regulated issuer, BioMarin filed periodic public reports with the SEC
25                       and the NASDAQ;

26            •          BioMarin regularly and publicly communicated with investors via
                         established market communication mechanisms, including through regular
27                       disseminations of press releases on the national circuits of major newswire
                         services and through other wide-ranging public disclosures, such as
28

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                          - 50 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 52 of 62




 1                       communications with the financial press and other similar reporting
                         services; and
 2
              •          BioMarin was followed by several securities analysts employed by major
 3                       brokerage firms who wrote reports which were distributed to the sales force
 4                       and certain customers of their respective brokerage firms. Each of these
                         reports was publicly available and entered the public marketplace.
 5
              147.       In addition, and as a result of the foregoing, the market for BioMarin common stock
 6
     promptly digested current information regarding BioMarin from all publicly available sources and
 7
     reflected such information in the price of BioMarin common stock. Under these circumstances,
 8
     all purchasers of BioMarin common stock during the Class Period suffered similar injury through
 9
     their purchase of BioMarin common stock at artificially inflated prices and the presumption of
10
     reliance applies. The material misstatements and omissions alleged herein would induce a
11
     reasonable investor to misjudge the value of BioMarin stock, and without knowledge of the
12
     misrepresented or omitted material facts, Plaintiffs and other members of the Class purchased or
13
     acquired BioMarin stock between the time Defendants misrepresented and/or failed to disclose
14
     material facts about the BMN 307 and the time the true facts were disclosed. Accordingly,
15
     Plaintiffs and other members of the Class relied, and are entitled to have relied, upon the integrity
16
     of the market for BioMarin common stock, and are entitled to a presumption of reliance on
17
     Defendants’ materially false and misleading statements and omissions during the Class Period.
18
              148.       Plaintiffs and the Class are also entitled to a presumption of reliance under Affiliated
19
     Ute Citizens v. United States, 406 U.S. 128 (1972), because the claims asserted herein against
20
     Defendants are predicated upon omissions of material fact for which there was a duty to disclose.
21
     Because this action involves Defendants’ failure to disclose material adverse information
22
     regarding BioMarin’s business and operations—information that Defendants were obligated to
23
     disclose—positive proof of reliance is not a prerequisite to recovery. All that is necessary is that
24
     the facts withheld are material in that a reasonable investor might have considered them important
25
     in making investment decisions.
26

27

28

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                              - 51 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 53 of 62




 1                                      CLASS ACTION ALLEGATIONS
 2            149.       Plaintiffs bring this action as a class action pursuant to Rule 23 of the Federal Rules

 3 of Civil Procedure on behalf of all persons or entities who purchased or otherwise acquired the

 4 common stock of BioMarin between November 14, 2019 and February 23, 2022, inclusive (the

 5 “Class”). Excluded from the Class are Defendants and their families, the officers and directors of

 6 BioMarin, members of their immediate families and their legal representatives, heirs, successors

 7 or assigns, and any entity in which Defendants have or had a controlling interest.

 8            150.       The members of the Class are so numerous that joinder of all members is

 9 impracticable. The disposition of their claims in a class action will provide substantial benefits to

10 the parties and the Court. Throughout the Class Period, BioMarin common stock was actively

11 traded on the NASDAQ, one of the largest stock exchanges in the world. While the exact number

12 of Class members is unknown to Plaintiffs at this time and can only be ascertained through

13 appropriate discovery, Plaintiffs believe that there are thousands of members in the proposed Class.

14 During the Class Period, there were more than 184 million shares of BioMarin common stock

15 outstanding and the average daily trading volume was over 1.4 million shares. Record owners and

16 other members of the Class may be identified from records maintained by BioMarin or its transfer

17 agent(s) and may be notified of the pendency of this action using the form of notice similar to that

18 customarily used in securities class actions.
19            151.       There is a well-defined community of interest in the questions of law and fact

20 involved in this case. Common questions of law and fact exist as to all members of the Class and

21 predominate over any questions solely affecting individual members of the Class. Among the

22 questions of law and fact common to the Class are:

23                       (a)    Whether the federal securities laws were violated by Defendants’ acts,

24 omissions and common scheme to defraud as alleged herein;

25                       (b)    Whether statements made by Defendants to the investing public during the

26 Class Period misrepresented and omitted material facts about BMN 307; and

27                       (c)    To what extent the members of the Class have sustained damages and the

28 proper measure of damages.

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                             - 52 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 54 of 62




 1            152.       Plaintiffs’ claims are typical of those of the Class because Plaintiffs and the Class

 2 sustained damages as a result of Defendants’ wrongful conduct.

 3            153.       Plaintiffs will adequately protect the interests of the Class and has retained counsel

 4 who is experienced in securities and class action litigation. Plaintiffs have no interests which

 5 conflict with those of the Class.

 6            154.       A class action is superior to all other available methods for the fair and efficient

 7 adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

 8 damages suffered by individual Class members may be relatively small, the expense and burden

 9 of individual litigation makes it impossible for all members of the Class to individually redress the

10 wrongs done to them. There will be no difficulty in the management of this action as a class action.

11                                                    COUNT I

12                   For Violations of Section 10(b) of the Exchange Act and Rule 10b-5
                        Against Defendants BioMarin, Bienaimé, Fuchs, and Cardon
13
              155.       Plaintiffs repeat and reallege each and every allegation contained above as if fully
14
     set forth herein. Count I is brought pursuant to §10(b) of the Exchange Act, 15 U.S.C. §78j(b),
15
     and Rule 10b-5 promulgated thereunder, 17 C.F.R. §240.10b-5.
16
              156.       During the Class Period, BioMarin, through its officers, management and agents,
17
     including Bienaimé, Fuchs, and Cardon, made or were responsible for the statements specified in
18
     ¶¶62-66, 68-73, 75-77, 79-82, 84-89, 91-96, 98-103, which they knew or recklessly disregarded
19
     were misleading in that they failed to disclose material facts necessary in order to make the
20
     statements made, in light of the circumstances under which they were made, not misleading.
21
              157.       Defendants and the Company’s officers, management and agents directly and
22
     indirectly, by the use of means and instrumentalities of interstate commerce, the mails and/or the
23
     facilities of a national securities exchange: (a) employed devices, schemes and artifices to defraud;
24
     (b) made misleading statements and omitted to state material facts necessary in order to make the
25
     statements made, in light of the circumstances under which they were made, not misleading; or (c)
26
     engaged in acts, practices and a course of business that operated as fraud or deceit upon Plaintiffs
27
     and others similarly situated in connection with their purchases of BioMarin common stock during
28

     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                            - 53 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 55 of 62




 1 the Class Period. All Defendants are sued as primary participants in the wrongful and illegal

 2 conduct charged herein and as controlling persons as alleged below.

 3            158.       Defendants and the Company’s officers, management and agents did not have a

 4 reasonable basis for their alleged false statements and engaged in transactions, practices and a

 5 course of business which operated as a fraud and deceit upon the purchasers of BioMarin common

 6 stock during the Class Period.

 7            159.       BioMarin is liable for all materially false and misleading statements and omissions

 8 made during the Class Period, as alleged above, including the false and misleading statements

 9 made by the Company’s officers and agents, as alleged above, as the maker of such statements and

10 under the principle of respondeat superior.

11            160.       Defendants and the Company’s officers, management and agents, individually and

12 in concert, directly and indirectly, engaged and participated in a continuous course of conduct to

13 conceal adverse material information about BMN 307 and the tumors observed in BMN 307’s pre-

14 clinical trials.

15            161.       The allegations above establish a strong inference that BioMarin, as an entity, acted

16 with corporate scienter throughout the Class Period, as its officers and agents had actual knowledge

17 of the misrepresentations and omissions of material facts set forth herein, or acted with reckless

18 disregard for the truth because they failed to ascertain and to disclose such facts, even though such
19 facts were available to them.            Such material misrepresentations and omissions were done

20 knowingly or with recklessness, and without a reasonable basis, for the purpose and effect of

21 concealing the truth about BMN 307 and the tumors observed in BMN 307’s pre-clinical trials.

22 By concealing these material facts from investors, BioMarin’s share price was artificially inflated

23 during the Class Period.

24            162.       Defendants had actual knowledge of the misrepresentations and omissions of

25 material facts set forth herein, or acted with reckless disregard for the truth in that they failed to

26 ascertain and to disclose such facts, even though such facts were available to them. Defendants’

27 material misrepresentations and/or omissions were done knowingly or recklessly and for the

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     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                           - 54 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 56 of 62




 1 purpose and effect of concealing the truth BMN 307 and the tumors observed in BMN 307’s pre-

 2 clinical trials and artificially inflating the price of BioMarin’s common stock.

 3            163.       Plaintiffs and the Class have suffered damages in that, in reliance on the integrity

 4 of the market, they paid artificially inflated prices for BioMarin common stock. Plaintiffs and the

 5 Class would not have purchased BioMarin common stock at the prices they paid, or at all, if they

 6 had been aware that the market prices had been artificially and falsely inflated by Defendants’

 7 misleading statements and omissions.

 8            164.       As a direct and proximate result of Defendants’ wrongful conduct, Plaintiffs and

 9 the other members of the Class suffered damages in connection with their purchases of BioMarin

10 common stock during the Class Period.

11                                                   COUNT II

12                             For Violations of Section 20(a) of The Exchange Act
                                             Against All Defendants
13
              165.       Lead Plaintiffs repeat, incorporate, and reallege each and every allegation set forth
14
     above as if fully set forth herein.
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              166.       Defendants Bienaimé, Fuchs, and Cardon acted as controlling persons of BioMarin
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     within the meaning of §20(a) of the Exchange Act. BioMarin controlled all of its employees
17
     including Bienaimé, Fuchs, and Cardon. By virtue of their high-level positions, participation in
18
     and/or awareness of the Company’s operations and the development of BMN 307, direct
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     involvement in the day-to-day operations of the Company, and/or intimate knowledge of the
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     Company’s actual performance as well as their power to control public statements about BioMarin,
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     defendants Bienaimé, Fuchs, and Cardon had the power and ability to influence and control,
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     directly or indirectly, the Company’s decision-making, including the content and dissemination of
23
     the various statements which Plaintiffs contend are false and misleading. Defendants Bienaimé,
24
     Fuchs, and Cardon participated in interviews and conference calls with investors and analysts,
25
     and/or prepared and approved the Company’s public statements, SEC filings and press releases,
26
     described herein at ¶¶62-66, 68-73, 75-77, 79-82, 84-89, 91-96, 98-103, alleged by Plaintiffs to be
27
     misleading.
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     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                           - 55 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 57 of 62




 1            167.       In particular, Defendants had direct and supervisory involvement in the Company’s

 2 day-to-day operations and, therefore, are presumed to have had the power to control or influence

 3 the particular transactions giving rise to the securities violations as alleged herein, and exercised

 4 the same. By reason of such conduct, Defendants are liable pursuant to §20(a).

 5            168.       As set forth above, Defendants each violated §10(b) and Rule 10b-5 by their acts

 6 and omissions as alleged in this complaint. By virtue of their positions as controlling persons,

 7 Defendants are liable pursuant to §20(a) of the Exchange Act. As a direct and proximate result of

 8 Defendants’ wrongful conduct, Plaintiffs and other members of the Class suffered damages in

 9 connection with their purchases of BioMarin common stock during the Class Period.

10                                           PRAYER FOR RELIEF
11            WHEREFORE, Lead Plaintiffs pray for judgment as follows:

12            A.         Determining that this action is a proper class action under Rule 23 of the Federal

13 Rules of Civil Procedure;

14            B.         Awarding compensatory damages in favor of Lead Plaintiffs and other Class

15 members against all Defendants, jointly and severally, for all damages sustained as a result of

16 Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

17            C.         Awarding Lead Plaintiffs and the Class their reasonable costs and expenses

18 incurred in this action, including attorneys’ fees and expert fees; and
19            D.         Awarding such equitable/injunctive or other further relief as the Court may deem

20 just and proper.

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     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC                        - 56 -
     4859-7139-2022.v2
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 58 of 62




 1                                            JURY DEMAND
 2            Lead Plaintiffs hereby demands a trial by jury.

 3    DATED: March 25, 2022                           ROBBINS GELLER RUDMAN
                                                       & DOWD LLP
 4                                                    SPENCER A. BURKHOLZ
                                                      DAVID W. MITCHELL
 5                                                    BRIAN O. O’MARA
                                                      STEVEN M. JODLOWSKI
 6

 7                                                                  s/ Brian O. O’Mara
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 9                                                    San Diego, CA 92101
                                                      Telephone: 619/231-1058
10                                                    619/231-7423 (fax)
11                                                    ROBBINS GELLER RUDMAN
                                                        & DOWD LLP
12                                                    SHAWN A. WILLIAMS
                                                      Post Montgomery Center
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                                                      San Francisco, CA 94104
14                                                    Telephone: 415/288-4545
                                                      415/288-4534 (fax)
15
                                                      Lead Counsel for Lead Plaintiffs
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     AMENDED COMPLAINT FOR VIOLATIONS OF THE FED. SEC. LAWS - 3:21-cv-08254-MMC           - 57 -
     4859-7139-2022.v2
       Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 59 of 62



            CERTIFICATION PURSUANT TO FEDERAL SECURITIES LAWS

       LOCAL 282 ANNUITY TRUST FUND and LOCAL 282 PENSION TRUST
FUND (“Plaintiff”) declares:
       1.      Plaintiff has reviewed a complaint filed and adopts its allegations. Plaintiff
has authorized the filing of a motion for appointment as lead plaintiff.
       2.      Plaintiff did not acquire the security that is the subject of this action at the
direction of plaintiff’s counsel or in order to participate in this private action or any other
litigation under the federal securities laws.
       3.      Plaintiff is willing to serve as a representative party on behalf of the class,
including providing testimony at deposition and trial, if necessary.
       4.      Plaintiff has made the following transaction(s) during the Class Period in the
securities that are the subject of this action: See attached Schedule A.
       5.      Plaintiff has not sought to serve or served as a representative party in a class
action that was filed under the federal securities laws within the three-year period prior to
the date of this Certification except as detailed below: None.
       6.      Plaintiff will not accept any payment for serving as a representative party on
behalf of the class beyond the Plaintiff’s pro rata share of any recovery, except such
reasonable costs and expenses (including lost wages) directly relating to the representation
of the class as ordered or approved by the court.
       I declare under penalty of perjury that the foregoing is true and correct. Executed
     24th day of March, 2022.
this ____
                                            LOCAL 282 ANNUITY TRUST FUND and
                                            LOCAL 282 PENSION TRUST FUND

                                            By:
                                                  Mario Bulding, Fund Administrator




                                                                                     BIOMARIN
            Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 60 of 62


                                                  SCHEDULE A

                                         SECURITIES TRANSACTIONS

Annuity

                             Date                       Amount of
                           Acquired                   Shares Acquired   Price

                          01/28/2021                       600          $82.30
                          02/08/2021                       300          $86.47
                          03/03/2021                       215          $76.43

Pension

                             Date                       Amount of
                           Acquired                   Shares Acquired   Price

                          12/21/2020                        312         $86.98
                          12/21/2020                       1,657        $86.85
                          12/22/2020                       7,160        $88.64
                          12/23/2020                       5,851        $88.41
                          12/24/2020                       2,914        $88.71
                          02/04/2021                       1,728        $84.30
                          02/05/2021                        209         $85.10
                          02/05/2021                        599         $84.85
                          02/05/2021                        845         $84.57
                          02/08/2021                       2,687        $85.99
                          02/09/2021                        363         $85.71
                          02/09/2021                       1,231        $86.00
                          02/10/2021                        460         $85.26
                          02/10/2021                       1,464        $85.32
                          02/11/2021                        182         $86.25
                          02/11/2021                        822         $86.51
                          02/12/2021                       1,487        $87.00
                          08/24/2021                         43         $76.85
                          08/24/2021                       1,104        $76.90
                          08/25/2021                       5,543        $78.21
                          08/26/2021                       4,169        $78.90
                          09/17/2021                        189         $76.84
                          09/17/2021                        439         $76.57
                          09/17/2021                       1,525        $77.28
                          09/17/2021                       7,294        $77.22

                             Date                        Amount of
                           Disposed                   Shares Disposed   Price

                          02/02/2021                       1,859        $83.51
                          10/01/2021                       3,935        $76.53

Prices listed are rounded up to two decimal places.
     Case 3:21-cv-08254-MMC Document 48 Filed 03/25/22 Page 61 of 62




 1                                      CERTIFICATE OF SERVICE

 2            I hereby certify under penalty of perjury that on March 25, 2022, I authorized the electronic

 3 filing of the foregoing with the Clerk of the Court using the CM/ECF system which will send

 4 notification of such filing to the email addresses on the attached Electronic Mail Notice List, and

 5 I hereby certify that I caused the mailing of the foregoing via the United States Postal Service to

 6 the non-CM/ECF participants indicated on the attached Manual Notice List.

 7                                                       s/ BRIAN O. O’MARA
                                                         Brian O. O’Mara
 8
                                                         ROBBINS GELLER RUDMAN
 9                                                              & DOWD LLP
                                                         655 West Broadway, Suite 1900
10                                                       San Diego, CA 92101-8498
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11                                                       619/231-7423 (fax)
12                                                       Email: bomara@rgrdlaw.com
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     4859-7139-2022.v2
3/25/22, 4:25 PM      Case 3:21-cv-08254-MMC Document 48CAND-ECF-
                                                          Filed 03/25/22 Page 62 of 62
Mailing Information for a Case 3:21-cv-08254-MMC Berlinger v. BioMarin
Pharmaceutical Inc. et al
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Manual Notice List

The following is the list of attorneys who are not on the list to receive e-mail notices for this case (who therefore require
manual noticing). You may wish to use your mouse to select and copy this list into your word processing program in order to
create notices or labels for these recipients.
   (No manual recipients)




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